      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 1 of 94




                        UNITED STATES DISTRICT COURT
                    FOR THE SOUTHERN DISTRICT OF GEORGIA

Bernard Cerone, individually and as parent
and next friend to minor Plaintiff B.C.,

                           Plaintiff,
      v.                                     COMPLAINT
                                             CV422-215
Meta Platforms, Inc., Instagram,
LLC, Siculus, Inc.,

                           Defendants.
        Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 2 of 94




                                                  TABLE OF CONTENTS

I.       INTRODUCTION .............................................................................................................. 1

II.      JURISDICTION AND VENUE ......................................................................................... 5

III.     PARTIES ............................................................................................................................ 6

IV.      GENERAL FACTUAL ALLEGATIONS ......................................................................... 7

V.       PLAINTIFF-SPECIFIC ALLEGATIONS ....................................................................... 19

VI.      CAUSES OF ACTION ..................................................................................................... 21

VII.     TIMELINESS AND TOLLING OF STATUTES OF LIMITATIONS ........................... 90

VIII. DEMAND FOR A JURY TRIAL ....................................................................................... 90

IX.      PRAYER FOR RELIEF ................................................................................................... 90
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 3 of 94




                                    I.     INTRODUCTION

       1.      Over the last two decades, more and more of our lives have moved onto social
media platforms and other digital public spaces. In this vast, still largely unregulated universe of
digital public spaces, which are privately owned and primarily run for profit, there exists tension
between what is best for technology companies’ profit margins and what is best for the individual
user (especially the predictable adolescent user) and for society. Business models are often built
around maximizing user engagement, not to ensure that users engage with the platform and one
another in safe and healthy ways. Technology companies focus on maximizing time spent, not
time well spent. In recent years, there has been growing concern about the impact of digital
technologies, particularly social media, on the mental health and wellbeing of children and
adolescents. Many researchers argue that social media facilitates cyberbullying, contributes to
obesity and eating disorders, instigates sleep deprivation to achieve around-the-clock platform
engagement, encourages children to negatively compare themselves to others and develop a broad
discontentment for life, and has been connected to depression, anxiety, self-harm, and ultimately
suicide ideation, suicide attempts, and completed suicide.

       2.      This matter arises from an egregious breach of the public trust by Defendant Meta
Platforms, Inc. (“Meta”). Meta was originally incorporated in Delaware on July 29, 2004, as
“TheFacebook, Inc.” On September 20, 2005, the company changed its name to “Facebook, Inc.”
On October 28, 2021, the company assumed its current designation. While Plaintiff has attempted
to identify the specific Meta subsidiary(s) that committed each of the acts alleged in this
Complaint, Plaintiff was not always able to do so, in large part due to ambiguities in Meta’s and
its subsidiaries’ own documents, public representations, and lack of public information. However,
upon information and belief, Meta oversees the operations of its various platforms and
subsidiaries, some of which have been identified and are listed below. For this reason, unless
otherwise specified, the shorthand “Meta” contemplates the apparent control that Defendant Meta
Platforms, Inc. wields over the subject social networks’ overall operations and, therefore, further
refers to its various subsidiaries and predecessors. To the extent this assumption is incorrect, the


                                                      1
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 4 of 94




knowledge of which Meta subsidiary, current or former, is responsible for specific conduct is
knowledge solely within Defendants’ possession, the details of which Plaintiff should be
permitted to elucidate during the discovery phase.
       3.      Meta knowingly exploited its most vulnerable users—children throughout the

world—to drive corporate profit. Meta operates the world’s largest family of social networks,
enabling billions of users worldwide to connect, view, and share content through mobile devices,
personal computers, and virtual reality headsets. A user does not have to pay to create an account.

Instead of charging account holders to access the platform, Meta became one of the world’s most
valuable companies from the sale of advertisement placements to marketers across its various
platforms and applications. For example, upon information and belief, Meta generated $69.7
billion from advertising in 2019, more than 98% of its total revenue for the year. Meta can
generate such revenues by marketing its user base to advertisers. Meta collects and analyzes data
to assemble virtual dossiers on its users, covering hundreds if not thousands of user-specific data
segments. This data collection and analysis allows advertisers to micro-target advertising and
advertising dollars to very specific categories of users, who can be segregated into pools or lists
using Meta’s data segments. Only a fraction of these data segments come from content that is
explicitly designated by users for publication or explicitly provided by users in their account
profiles. Many of these data segments are collected by Meta through surveillance of each user’s
activity on the platform and off the platform, including behavioral surveillance that users are not
even aware of, like navigation paths, watch time, and hover time. At bottom, the larger Meta’s
user database grows, the more time the users spend on the database, and the more detailed
information that Meta can extract from its users, the more money Meta makes.
       4.      Defendants have intentionally designed their product to maximize users’ screen
time, using complex algorithms designed to exploit human psychology and driven by advanced
computer algorithms and artificial intelligence available to two of the largest technology
companies in the world. Defendants have progressively modified their product to promote




                                                      2
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 5 of 94




problematic and excessive use that they know threatens the actuation of addictive and self-
destructive behavioral patterns.

       5.      One Meta product, www.Instagram.com (“Instagram”) websites and respective
interrelated app ranks among the most popular social networking product, with more than two

billion combined users worldwide. It is estimated that nine out of ten teens use social media
platforms, with the average teen using the platform roughly three hours per day. Given the
delicate, developing nature of the teenage brain and Meta’s creation of social media platforms

designed to be addictive, it comes as no surprise that we are now grappling with the ramifications
of Meta’s growth-at-any-cost approach, to wit, a generation of children physiologically entrapped
by products the effects of which collectively result in long-lasting adverse impact on their rapidly
evolving and notoriously precarious mental health.
       6.      Instagram has become the most popular photo sharing social media platform
amongst teenagers and young adults in the United States, with over 57 million users below the
age of eighteen, meaning that 72 percent of America’s youth use Instagram.
       7.      A user’s “feed” on Instagram is comprised of an endless series of photos, videos,
text captions, and comments posted by accounts that the user follows, along with advertising and
content specifically selected and promoted by Instagram.
       8.      Instagram also features a “discover” page where a user is shown an endless feed

of content that is selected by an algorithm designed by Instagram based upon the users’ data
profile: demographics, prior activity in the platform, and other data points.

       9.      Over the past decade or so, Meta has added features and promoted the use of auto
playing short videos and temporary posts on Instagram referred to as Instagram “Stories”.
       10.     Instagram notifies users through text and email of activity that might be of interest,
which is designed to and does prompt users to open Instagram and be exposed to content selected
by the platform to maximize the length of time and amount of content viewed by the user.
Instagram include many other harm causing features, as discussed below.




                                                       3
        Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 6 of 94




        11.    Plaintiff brings claims of strict liability based upon Defendants’ defective design
of social media products that renders it not reasonably safe for ordinary consumers in general and
children in particular. It is technologically feasible to design a social media product that
substantially decrease the incidence and magnitude of harm to ordinary consumers and children
arising from their foreseeable use of Defendants’ product with a negligible increase in production
cost.
        12.    Plaintiff also brings claims for strict liability based on Defendants’ failure to

provide adequate warnings to adolescent users and their parents of the danger of mental, physical,
and emotional harms arising from the foreseeable use of their social media product.
        13.    Plaintiff also brings claims for common law negligence arising from Defendants’
unreasonably dangerous social media product and their failure to warn of such dangers.
Defendants knew or, in the exercise of ordinary care, should have known that their social media
product were harmful to a significant percentage of their adolescent users and failed to re-design
their product to ameliorate these harms or warn adolescent users and their parents of dangers
arising out of the foreseeable use of their product. Defendants intentionally created an attractive
nuisance to children, but simultaneously failed to provide adequate safeguards from the harmful
effects they knew were occurring.

        14.    The addictive qualities of Defendants’ product and their harmful algorithms are
not fully known or appreciated by adolescent users or their parents. Like others, Plaintiff only
recently learned the truth about Meta’s increasingly detrimental effect on teenagers when Frances
Haugen, a former Facebook employee turned whistleblower, came forward with internal
documents showing that Meta was aware that its platform and products cause significant harm to
its users, especially children, especially children. Rather than making meaningful changes to
safeguard the health and safety of its adolescent users, Meta has consistently chosen to prioritize
profit over safety by continuing to implement and require its users to submit to product
components that increase the frequency and duration of users’ engagement, resulting in the
pernicious harms described in greater detail below.


                                                      4
       Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 7 of 94




                             II.     JURISDICTION AND VENUE

        15.     This Court has subject-matter jurisdiction over this case under 28 U.S.C. § 1332(a)
because the amount in controversy exceeds $75,000 and Plaintiff and Defendants are residents of
different states.
        16.     This Court has specific personal jurisdiction over Defendants Instagram because
these Defendants transact business in the State of Georgia and purposely avail themselves of the
benefits of transacting business with Georgia residents. Plaintiff’s claims set forth herein arise out
of and/or relate to Defendants’ activities in the State of Georgia and purposeful availment of the
benefits of transacting business here and the exercise of personal jurisdiction by this Court
comports with traditional notions of fair play and substantial justice.
        17.     Defendants interface with a significant percentage of the population of the State
of Georgia relating to use of the product at issue in this case, and interact extensively with—send
messages, notifications, and communications to—and provide a myriad of other interactive
services and recommendations to users Defendants expect and know to be in the State of Georgia.
        18.     Defendants advertise extensively in Georgia, through contractual relationships
with third-party “partners” who advertise on their behalf via electronic and internet-based
platforms and devices. Meta also has agreements with cell phone manufacturers and/or providers
and/or retailers, who often pre-install its product on mobile devices prior to sale and without
regard to the age of the intended user of each such device. That is, even though Defendants are
prohibited from providing their product to users under the age of 13, by encouraging and allowing
its product to be installed indiscriminately on mobile devices, it actively promotes and provides
access to its product to the underage users in Georgia for whom those devices are intended.
        19.     Defendants have earned millions of dollars in annual revenue from their Georgia
related activities over the last several years arising from their defective and inherently dangerous
social media product by Georgia residents, including Plaintiff.




                                                        5
       Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 8 of 94




       20.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2) because a substantial
part of the events or omissions giving rise to Plaintiff’s claims occurred in the Southern District
of Georgia.
                                        III.    PARTIES

       A.      Plaintiff

       21.     Plaintiff Bernard Cerone is currently individual residing in Savannah, Georgia,
and is thefather and custodial parent of his thirteen-year-old daughter B.C. All events giving rise

to Plaintiff’s claims—including her initial exposure to Instgram, the onset of her addiction, and
her injuries as a result of her use of Instgram —occurred while she resided within the State of
Georgia. Plaintiff brings this suit on behalf of himself and B.C., pursuant to FED. R. CIV. P. 17.
       B.      Defendant Meta Platforms, Inc.

       22.     Meta is a Delaware corporation and multinational technology conglomerate,
having its principal place of business in Menlo Park, California.
       23.     Meta develops and maintains social media platforms, communication platforms,
and electronic devices. These platforms and products include Instagram (and its self-titled app),
and a line of electronic virtual reality devices called Oculus Quest (soon to be renamed “Meta
Quest”). Meta’s subsidiaries include, but may not be limited to: Instagram, LLC (Delaware); Novi
Financial, Inc. (Delaware); Runways Information Services Limited (Ireland); Scout Development
LLC (Delaware); Siculus, Inc. (Delaware); and a dozen other entities whose identity or relevance
is presently unclear.
       C.      Subsidiary Defendants

       24.     Instagram, LLC (“Instagram”) was founded by Kevin Systrom and Mike Krieger
in October 2010. In April 2021, Meta purchased the company for $1 billion (later statements from
Meta have indicated the purchase price was close to $2 billion). Meta reincorporated the company
on April 7, 2012, in Delaware. Currently the company’s principal place of business is in Menlo
Park, CA. Instagram is a social media platform tailored to photo and video sharing.



                                                      6
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 9 of 94




       25.     Siculus, Inc., (“Siculus”) was incorporated in Delaware on October 19, 2011 and
is a wholly owned subsidiary of Meta. Siculus supports Meta platforms by constructing data
facilities and other projects. Siculus’s principal place of business is in Menlo Park, CA.
                       IV.     GENERAL FACTUAL ALLEGATIONS

       A.      Teenagers Are Particularly Vulnerable to the Perils of Excessive Social Media
               Use.

       26.     Emerging research shows that the human brain is still developing during
adolescence in ways consistent with children and adolescents’ demonstrated psychosocial
immaturity. Specifically, children and adolescents’ brains are not yet fully developed in regions
related to risk evaluation, emotion regulation, and impulse control. The frontal lobes—and, in
particular, the prefrontal cortex—of the brain play an essential part in higher-order cognitive
functions, impulse control, and executive decision-making. These regions of the brain are central

to the process of planning and decision-making, including the evaluation of future consequences
and the weighing of risk and reward. They are also essential to the ability to control emotions and
inhibit impulses. MRI studies have shown that the prefrontal cortex is one of the last regions of
the brain to mature. During childhood and adolescence, the brain is maturing in at least two major
ways. First, the brain undergoes myelination, the process through which the neural pathways
connecting different parts of the brain become insulated with white fatty tissue called myelin.
Second, during childhood and adolescence, the brain is undergoing “pruning”—the paring away
of unused synapses, leading to more efficient neural connections. Through myelination and
pruning, the brain’s frontal lobes change to help the brain work faster and more efficiently,
improving the “executive” functions of the frontal lobes, including impulse control and risk
evaluation. This shift in the brain’s composition continues throughout adolescence and into young
adulthood. In late adolescence, important aspects of brain maturation remain incomplete,
particularly those involving the brain’s executive functions and the coordinated activity of regions
involved in emotion and cognition. As such, the part of the brain that is critical for control of
impulses and emotions and mature, considered decision-making is still developing during



                                                      7
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 10 of 94




adolescence, consistent with the demonstrated behavioral and psychosocial immaturity of
juveniles.

       27.     Because adolescence is the period when sophisticated, essential inhibitory control
functions are being established, the onset of prolonged exposure to toxic content during

adolescence is particularly concerning. The extended development of the prefrontal cortex results
in an adolescent brain that is largely undeveloped, highly malleable, and overwhelmingly
vulnerable to long-term, irremediable effects of adverse influences, including addiction and a

fractured psychological well-being.
       28.     The algorithms in Defendants’ social media products exploit adolescent users’
diminished decision-making capacity, impulse control, emotional maturity, and psychological
resiliency caused by users’ incomplete brain development. Defendants know, or in the exercise
of reasonable care should know, that because their adolescent users’ frontal lobes are not fully
developed, such users are much more likely to sustain serious physical and psychological harm
through their social media use than adult users. Nevertheless, Defendants have failed to design
their products with any protections to account for and ameliorate the psychosocial immaturity of
their adolescent users.

       29.     Children and adolescents see themselves as increasingly unique. Paradoxically, as
part of their individuation, they conform by faithfully mimicking the behavior of peers. Indeed,
in defining their own emerging identity, children and adolescents aspire to be viewed as mature
adults, and this leads them to affiliate with and emulate the personalities, images, behaviors, and
preferences of those that they would like to become. During the teenage years, relationships with
family members often take a back seat to peer groups and appearance. Teens crave to identify
with their peer group, achieve social approval, and become “popular.” Many teens feel deep
insecurity and are self-conscious. They feel people are constantly focused on them, examining
them, and judging them about everything they say and do. They struggle with the inexorable
desire to be accepted and admired by their teen peers, and their biggest fear is to not fit in. This
myopic desire to fit in predispositions teenagers to frequently engage in upward social comparison


                                                      8
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 11 of 94




processes, that is, identifying and observing others that appear to be experiencing more positive
outcomes, and consequently feeling worse about themselves and their own perceived
shortcomings.
        30.      Today’s adolescents are part of Generation Z (which is loosely defined as people

born between 1997 and 2012)—they are the first generation of consumers to have grown up in an
entirely post‐digital era, and thus are “digitally native.” The oldest members of this demographic
cohort are just turning 24 this year; however, the substantial majority are believed to be still going

through adolescence. Members of Generation Z spend upwards of 3 hours per day on the internet,
and another 3 hours per day using social media. According to a 2018 survey by Pew Research
Center, 45 percent of high school students said they used a social-media platform daily, and 24
percent said that they were online “almost constantly.”1
        31.      One way that Meta’s platforms addict children and adolescents is as follows: When
children and adolescents use design features such as “likes” it causes their brains to release
euphoria-causing dopamine. However, as soon as dopamine is released, their euphoria is
countered by dejection: adolescent users’ brains adapt by reducing or “downregulating” the
number of dopamine receptors that are stimulated. In normal stimulatory environments, neutrality
is restored after this dejection abates. However, Defendants’ algorithms are designed to exploit
users’ natural tendency to counteract dejection by going back to the source of pleasure for another
dose of euphoria.
        32.      Eventually, as this pattern continues over a period of days, weeks, and months, the
neurological baseline to trigger adolescent users’ dopamine responses increases. Children and
adolescents then continue to use Instagram, not for enjoyment, but simply to feel normal. When
adolescent users attempt to stop using Defendants’ social media products, they experience the
universal symptoms of withdrawal from any addictive substance including anxiety, irritability,
insomnia, and craving.


1
 Monica Anderson and JingJing Jiang, Teens, Social Media and Technology (February 3, 2022, last visited at 11:20
AM CST) https://www.pewresearch.org/internet/2018/05/31/teens-social-media-technology-2018/.


                                                            9
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 12 of 94




       33.    Addictive use of social media by children and adolescents is psychologically and
neurologically analogous to addiction to internet gaming disorder. Gaming addiction is a
recognized in the American Psychiatric Association's 2013 Diagnostic and Statistical Manual of
Mental Disorders (DSM-5) (used by mental health professionals to diagnose mental disorders)
and is a recognized mental health disorder by the World Health Organization and International
Classification of Diseases. The diagnostic symptoms of social media addiction among children
and adolescents are the same as the symptoms of addictive gaming promulgated in DSM 5 and
include:
              a. Preoccupation with social media and withdrawal symptoms (sadness, anxiety,

                  irritability) when device is taken away or use is not possible (sadness, anxiety,

                  irritability).

              b. Tolerance, the need to spend more time using social media to satisfy the urge.

              c. Inability to reduce social media usages, unsuccessful attempts to quit gaming.

              d. Giving up other activities, loss of interest in previously enjoyed activities due

                  to social media usage.

              e. Continuing to use social media despite problems.

              f. Deceiving family members or others about the amount of time spent on social

                  media.

              g. The use of social media to relieve negative moods, such as guilt or

                  hopelessness; and

              h. Jeopardizing school or work performance or relationships due to social media

                  usage.

       34.    Defendants’ advertising profits are directly tied to the amount of time that its users
spend online. Thus, Defendants enhance advertising revenue by maximizing users’ time online
through a product design that addicts them to the platform, in part by directing them to content


                                                     10
         Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 13 of 94




that is progressively more stimulating. However, reasonable adolescent users and their parents do
not expect that online social media platforms are psychologically and neurologically addictive.

           35.      Defendants’ products could feasibly report the frequency and duration of their
adolescent users’ screen time to their parents at negligible cost. This would enable parents to track

the frequency, time, and duration of their adolescent child’s social media, identify and address
problems arising from such use, and better exercise their rights and responsibilities as parents.
           36.      Social comparisons on social media are frequent and are especially likely to be
upward, as social media provides a continuous stream of information about other people’s
accomplishments. 2 Past research suggests that social comparisons occur automatically; when
individuals encounter information about another person, their own self-perceptions will be
affected. The sheer number of posts in a News Feed, each offering a thumbnail sketch of each
person’s carefully curated and predominantly ostentatious content, yields numerous opportunities
for social comparison. Although people do not typically post false information about themselves
online, they do engage in selective self-presentation and are more likely to post eye-catching
content. As a result, individuals browsing their News Feeds are more likely to see posts about
friends’ exciting social activities rather than dull days at the office, affording numerous
opportunities for comparisons to seemingly better-off others. Individuals with vacillating levels
of self-esteem and certitude, characteristics notoriously endemic to the teenage cohort, are
particularly oriented to making frequent and extreme upward social comparisons on social media,
which in turn threatens their mental health. Social-media-induced social comparison often results
in a discrepancy between the ideal self and the real self, thus evoking a sense of depression,
deprivation, and distress, resulting in an overall aggravation of one’s mental state.3 Since the early


2
 Jin Kyun Lee, The Effects of Social Comparison Orientation on Psychological Well-Being in Social Networking
Sites: Serial Mediation             of       Perceived      Social Support and        Self-Esteem      (2020),
https://link.springer.com/content/pdf/10.1007/s12144-020-01114-3.pdf

3
    This schism between the ideal self and the real self, and the attendant dissatisfaction with reality, is further
    exacerbated by Meta’s use of physical-augmentation technology, which allows users to utilize photo and video filters
    to make remove blemishes, make the face appear thinner, and lighten the skin-tone, all to make themselves appear
    more “attractive.”


                                                                 11
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 14 of 94




2000s, studies have shown that frequent upward social comparison results in lower self-esteem
and reduced overall mental health.4 It has also long been known that individuals who are more
likely to engage in self-comparison are likewise more likely to have negative outcomes when
using social media. To cope with wavering self-esteem, digitally native children and adolescents
often become envious of others and resort to cyberbullying to deconstruct the point of
comparison’s perceived superiority and preserve an increasingly delicate ego. These natural
dynamics in youth are exacerbated to psychologically injurious levels by Meta’s platforms’
progressively toxic environment worsened by its 2018 shift to engagement-based ranking, which
is discussed in further detail below.

        37.     The dangers associated with teenager’s proclivity to engage in protracted upward
social comparison while on social media is compounded by Meta’s deft and discreet construction
of an atmosphere capable of exploiting the impulse control issues of even the most mature adults,
thereby unleashing upon the public a product that is predictably highly addictive. Some of Meta’s
key features that make the platform highly addictive include the use of intermittent variable
rewards (“IVR”) and its Facial Recognition System (“FRS”).
        38.     IVR is a method used to addict a user to an activity by spacing out dopamine
triggering stimuli with dopamine gaps—a method that allows for anticipation and craving to
develop and strengthens the addiction with each payout. The easiest way to understand this term
is by imagining a slot machine. You pull the lever (intermittent action) with the hope of winning
a prize (variable reward). In the same way, you refresh Meta’s feeds, endure the brief delay, and
then learn if anyone has tagged you in a photo, mentioned you in a post, sent you a message, or
liked, commented on, or shared either of your posts. As explained below, Meta spaces out
notifications of likes and comments into multiple bursts (dopamine gaps), rather than notifying
users in real time, to maximize the platform’s addictiveness.



4
 Claire Midgley, When Every Day is a High School Reunion: Social Media Comparisons and Self-Esteem (2020),
https://www.researchgate.net/publication/342490065_When_Every_Day_is_a_High_School_Reunion_Social_Medi
a_Comparisons_and_Self-Esteem


                                                         12
       Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 15 of 94




         39.      Engineered to meet the evolving demands of the “attention economy,”5 a term used
to describe the supply and demand of a person’s attention, which is a highly valuable commodity
for internet websites, in February 2009, Meta introduced perhaps its most conspicuous form of
IVR: its “Like” button; Instagram launched that same year and came ready-made with a like
function shaped as a heart. Additional features of Meta’s IVR include its delay-burst notification
system, comments, posts, shares, and other dopamine-triggering content. Instagram’s notification
algorithm delays notifications to deliver them in spaced-out, larger bursts. These designs take
advantage of users’ dopamine-driven desire for social validation and optimizes the balance of
negative and positive feedback signals to addict users.

         40.      Other psychological manipulations used to intertwine social media users include,
but are not limited to: (1) the FRS system, which has already collected for distribution to various
third parties a billion individual facial recognition templates and is otherwise used by Meta to tag
people in photos; (2) Meta’s use of wavy dots to reflect that someone is currently writing you a
message, which is designed to keep you on the platform until you receive the message or shorten
the time for you to return and check for a message; and (3) the concept of social reciprocity, a
variance of quid pro quo, pursuant to which Meta alerts you when someone has read your
message, which encourages the receivers to respond—because the sender knows the message has
been read—and simultaneously prompts the sender to return to check for the seemingly inevitable
response. In sum, this perilous amalgamation of intense psychological vulnerability and targeted
exploitation foreseeably results in an increased risk of a variety of harms for today’s youth,
including, but not limited to, social media addiction, withdrawal—from friends, family, and social
and academic advancement—lack of focus, anxiety, body dysmorphia, eating disorders, death
resulting from eating disorders, depression, difficulty sleeping, fatigue, headaches, migraines,
loss of vision, eye strain, self-harm, and suicide among other harms.

         B.       Meta Knowingly Exploits Teenage Vulnerabilities for Unjust Gain.


5
 The business model is simple: The more attention a platform can pull from its users, the more effective its advertising
space becomes, allowing it to charge advertisers more.


                                                                13
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 16 of 94




       41.     Enacted in 1998 and finalized by a U.S. Federal Trade Commission rulemaking in
2000, the Children’s Online Privacy Protection Act, or “COPPA,” regulates the conditions under
which commercial web sites that either target children under age 13 or have actual knowledge of
children under age 13 using their site can collect and use information about them. As a result of
COPPA, website operators must obtain “verifiable parental consent” from parents prior to the
collection and use of information about children under age 13. Meta has chosen to avoid these
obligations by purporting to ban all those younger than 13 through its terms of service.

       42.     Meta states that children under the age of thirteen are prohibited from having Meta
accounts, but Meta knowingly lacks effective age-verification protocols. Since at least 2011, Meta
has known that its age-verification protocols are largely inadequate. The problem has not been
remediated, as Meta removed at least six hundred thousand underage users in 2021.
       43.     Defendants do not charge their users to use their platforms, but instead receive
money from advertisers who pay a premium to target advertisements to specific categories of
people as studied and sorted by Meta’s algorithms. Thus, Defendants generate revenue based
upon the total time spent on the application, which directly correlates with the number of
advertisements that can be shown to each user.

       44.     Meta, as originally conceived, ostensibly functioned like an enormous virtual
bulletin board, where content was published by authors. But Meta has evolved over time with the
addition of numerous features and products designed by Meta to engage users. The earliest of
these—the search function and the “like” button—were primarily user-controlled features. In
more recent years, however, Meta has taken a more active role in shaping the user-experience on
the platform with more complex features and products. The most visible of these are curated
recommendations, which are pushed to each user in a steady stream as the user navigates the
website, and in notifications sent to the user’s smartphone and email addresses when the user is
disengaged with the platform. These proprietary Meta products include News Feed (a newsfeed
of stories and posts published on the platform, some of which are posted by your connections,
and others that are suggested for you by Meta), People You May Know (introductions to persons


                                                     14
         Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 17 of 94




with common connections or background), Suggested for You, Groups You Should Join, and
Discover (recommendations for Meta groups to join). These curated and bundled
recommendations are developed through sophisticated algorithms. As distinguished from the
earliest search functions that were used to navigate websites during the Internet’s infancy, Meta’s
algorithms are not based exclusively on user requests or even user inputs. Meta’s algorithms
combine the user’s profile (e.g., the information posted by the user on the platform) and the user’s
dossier (the data collected and synthesized by Meta to which Meta assigns categorical
designations), make assumptions about that user’s interests and preferences, make predictions
about what else might appeal to the user, and then make very specific recommendations of posts
and pages to view and groups to visit and join based on rankings that will optimize Meta’s key
performance indicators.
           45.     Equipped with ample information about the risks of social media, the
ineffectiveness of its age-verification protocols, and the mental processes of teens, Meta has
expended significant effort to attract preteens to its products, including substantial investments in
designing products that would appeal to children ages 10-to-12. Meta views pre-teens as a
valuable, unharnessed commodity, so valuable that it has contemplated whether there is a way to
engage children during play dates.6 Meta’s unabashed willingness to target children, in the face
of its conscious, long-standing, plainly deficient age-verification protocols demonstrates the
depths to which Meta is willing to reach to maintain and increase its profit margin.

           46.     Faced with the potential for reduction in value due to its declining number of users,
in or around early 2018, Meta (and likely Meta 2) revamped its interface to transition away from
chronological ranking, which organized the interface according to when content was posted or
sent, to prioritize Meaningful Social Interactions, or “MSI,” which emphasizes users’
connections’ interactions, e.g., likes and comments, and gives greater significance to the



6
    Georgia Wells and Jeff Horwitz, Facebook’s Effort to Attract Preteens Goes Beyond Instagram Kids, Documents
Show (2021), https://www.wsj.com/articles/facebook-instagram-kids-tweens-attract-
11632849667

                                                             15
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 18 of 94




interactions of connections that appeared to be the closest to users. To effectuate this objective,
Facebook developed and employed an “amplification algorithm” to execute engagement-based
ranking, which considers a post’s likes, shares, and comments, as well as a respective user’s past
interactions with similar content, and exhibits the post in the user’s newsfeed if it otherwise meets
certain benchmarks. The algorithm covertly operates on the proposition that intense reactions
invariably compel attention. As it measures reactions and contemporaneously immerses users in
the most reactive content, and negative content routinely elicits passionate reactions, the
algorithm effectively works to steer users toward the most negative content.
        47.      Meta CEO Zuckerberg publicly recognized this in a 2018 post, in which he
demonstrated the correlation between engagement and sensational content that is so extreme that
it impinges upon Meta’s own ethical limits, with the following chart:7




        48.      The algorithm controls what appears in each user’s News Feed and promotes
content that is objectionable and harmful to many users. In one internal report, Meta concluded
that “[o]ur approach has had unhealthy side effects on important slices of public content, such as
politics and news,” with one data scientist noting that “[t]his is an increasing liability.” In other
internal memos, Meta concluded that because of the new algorithm, “[m]isinformation, toxicity,
and violent content are inordinately prevalent.” Other documents show that Meta employees also



7
    Mark Zuckerberg, A Blueprint for Content Governance and                       Enforcement,   FACEBOOK,
https://www.facebook.com/notes/751449002072082/ (last visited January 8, 2022).


                                                           16
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 19 of 94




discussed Meta’s motive for changing its algorithm—namely, that users began to interact less
with the platform, which became a worrisome trend for Meta’s bottom line. Meta found that the
inflammatory content that the new algorithm was feeding to users fueled their return to the
platform and led to more engagement, which, in turn, helped Meta sell more of the digital ads that
generate most of its revenue. All told, Meta’s algorithm optimizes for angry, divisive, and
polarizing content because it’ll increase its number of users and the time users stay on the platform
per viewing session, which thereby increases its appeal to advertisers, thereby increasing its
overall value and profitability.
       49.      Upon information in belief, at least as far back as 2019, Meta initiated, inter alia,
a Proactive Incident Response experiment, which began researching the effect of Meta on the
mental health of today’s youth.8 Meta’s own in-depth analyses show significant mental-health
issues stemming from the use of Instagram among teenage girls, many of whom linked suicidal
thoughts and eating disorders to their experiences on the app.9 Meta’s researchers have repeatedly
found that Instagram is harmful for a sizable percentage of teens that use the platform. In an
internal presentation from 2019, Meta researchers concluded that “[w]e make body issues worse
for one in three teen girls,” and “[t]eens blame Instagram for increases in the rate of anxiety and
depression.” Similarly, in a March 2020 presentation posted to Meta’s internal message board,
researchers found that “[t]hirty-two percent of teen girls said that when they feel bad about their
bodies, Instagram made them feel worse.” Sixty-six percent of teen girls and forty-six percent of
teen boys have experienced negative social comparisons on Instagram. Thirteen-and-one-half
percent of teen-girl Instagram users say the platform makes thoughts of “suicide and self-injury”
worse. Seventeen percent of teen-girl Instagram users say the platform makes “[e]ating issues”
worse. Instagram users are twice as likely to develop an eating disorder as those who don’t use
social media.


  8
    See Protecting Kids Online: Testimony from a Facebook Whistleblower, United States Senate Committee on Commerce,
  Science, & Transportation, Sub-Committee on Consumer Protection, Product Safety, and Data Security, https://www.c-
  span.org/video/?515042-1/whistleblower-frances-haugen-calls-congress-regulate-facebook
  9
      See Wall Street Journal Staff, The Facebook Files (2021), https://www.wsj.com/articles/the-facebook-
  files11631713039?mod=bigtop-breadcrumb


                                                             17
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 20 of 94




        50.     Meta is aware that teens often lack the ability to self-regulate. Meta is further aware
that, despite the platform’s adverse impact to teenage users’ well-being, the absence of impulse
control often renders teens powerless to oppose the platform’s allure. Meta is conscious of the
fact that the platform dramatically exacerbates bullying and other difficulties prevalent within the
high school experience, as the reach of the same now affects users within the ideally otherwise
safe confines of the home. The advent of social media largely occurred after today’s parents
became adults, the consequence being a large swath of parents that lack the context needed to
appreciate the contemporary perils of Meta and Instagram, who are likewise ill-equipped to offer
advice sufficient to effectively mitigate against it.

        51.     The shift from chronological ranking to the algorithm modified the social
networking environment in such a way that it created a new iteration of the Meta experience, one
that is profoundly more negative, one that exploits some of the known psychological
vulnerabilities of Meta’s most susceptible patronage, to wit, juveniles, resulting in a markedly
enlarged threat to the cohort’s mental health and the related frequency of suicidal ideation.

        52.     Excessive screen time is harmful to children and adolescents’ mental health, sleep
patterns, emotional well-being. Defendants’ products lack any warnings that foreseeable product
use can disrupt healthy sleep patterns, or specific warnings to parents when their child’s product
usage exceeds healthy levels or occurs during sleep hours, rendering the platform unreasonably
dangerous. Reasonable and responsible parents are not able to accurately monitor their child’s
screen time because most children and adolescents own or can obtain access to mobile devices
and engage in social media use outside their parents’ presence.
        53.     Meta professes to have implemented protective measures to counteract the well-
established dangers of its sites’ customized, doggedly harmful content; however, its protocols
apply only to content conveyed in English and removes only three-to-five percent of harmful
content. Meta knows its quality-control and age-verification protocols are woefully ineffective,
but Meta is either unwilling or incapable of properly managing its platforms. This is consistent
with its established pattern of recognizing, and subsequently ignoring, the needs of its underage


                                                        18
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 21 of 94




users and its obligation to create a suitable environment accessible only by its age-appropriate
users, all in the interest of reaping obscene profit.
        C.      Plaintiff Expressly Disclaims Any and All Claims Seeking to Hold Defendants
                Liable as the Publisher or Speaker of Any Content Provided, Posted, or
                Created by Third Parties.

        54.     Plaintiff seeks to hold Defendants accountable for their own alleged acts and
omissions. Plaintiff’s claims arise from Defendants’ status as the designer and marketer of
dangerously defective social media products, not as the speaker or publisher of third-party
content.

        55.     Plaintiff alleges that Defendants failed to warn adolescent users and their parents
of known dangers arising from anticipated use of their social media platform. None of Plaintiff’s
claims rely on treating Defendants as the publisher or speaker of any third-party’s words.
Plaintiff’s claims seek to hold Defendants accountable for their own allegedly wrongful acts and
omissions, not for the speech of others or for any attempts by Defendants to restrict access to
objectionable content.
        56.     Plaintiff is not alleging that Defendant is liable for what third-parties have said,
but for what Defendants did or did not do.

        57.     None of Plaintiff’s claims for relief set forth herein require treating Defendants as
a speaker or publisher of content posted by third parties. Rather, Plaintiff seeks to hold Defendants

liable for their own speech and their own silence in failing to warn of foreseeable dangers arising
from the anticipated use of their product. Defendants could manifestly fulfill their legal duty to
design reasonably safe products and furnish adequate warnings of foreseeable dangers arising out
of their products, without altering, deleting, or modifying the content of a single third-party post
or communication.
                         V.     PLAINTIFF-SPECIFIC ALLEGATIONS

        58.     Plaintiff B.C. is a thirteen-year-old girl who is a heavy user of Instagram.




                                                        19
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 22 of 94




       59.        Shortly after registering to use Instagram at the age of eleven, Plaintiff began
engaging in addictive and problematic use of Instagram. B.C. interest in any activity other than
viewing and posting on Instagram progressively declined.
       60.        Prompted by the addictive design of Defendants’ product(s), and the constant

notifications that Defendants’ platform pushed to B.C. 24 hours a day, B.C. began getting less
and less sleep.
       61.        As a proximate result of her addiction to Instagram, and specifically due to
recommendations and content Defendants selected and showed to, B.C. an adolescent user of
Instagram, B.C. subsequently developed injuries including, but not limited to, suicidal ideation;
attempted self-harm; self-harm; body dysmorphia; eating disorder including, anorexia, bulimia,
laxatives, diuretics, and excessive exercising, anxiety and depression.
       62.        Defendants have designed Instagram, including through the use of weak age-
verification measures and disappearing or time-sensitive messaging features, to frustrate parents
like Bernard Cerone from exercising their rights and duties as parents to monitor and limit their
children’s use of Instagram.

       63.        Defendants have designed Instagram to allow children and adolescents to use,
become addicted to, and abuse their product without the consent of the users’ parents, like Bernard
Cerone.

       64.        Defendants have specifically designed Instagram to be an attractive nuisance to
underage users but failed to exercise the ordinary care owed to underage business invitees to
prevent the rampant, foreseeable, and deleterious impact on adolescent users that access
Instagram.
       65.        Neither Bernard Cerone nor B.C. were aware of the clinically addictive and
mentally harmful effects of Instagram when B.C. began to use the product.
       66.        Defendants not only failed to warn B.C. and Bernard Cerone of the dangers of
addiction, sleep deprivation, and problematic use of Instagram, but misrepresented the safety,
utility, and non-addictive properties of their product. For example, the head of Instagram testified


                                                      20
         Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 23 of 94




under oath at a December 8, 2021, Senate Committee hearing that Instagram does not addict its
users.

          67.   As a result of B.C. extensive and problematic use of Instagram, she has developed
numerous mental health conditions that she still struggles with until this day.

                                  VI.      CAUSES OF ACTION

                                FIRST CAUSE OF ACTION
                           STRICT LIABILITY - DESIGN DEFECT

          68.   Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.
          69.   Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.
          70.   At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited from the
platform that Plaintiff used.
          71.   Instagram was designed and intended to be used as a social media platform.
          72.   Instagram as designed was unreasonably dangerous, posed a substantial likelihood
of harm, and were therefore defective because of reasons enumerated in the complaint, including,
but not limited to, risks of social media addiction, depression, body dysmorphia, anxiety, suicidal
ideation, self-harm, thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia
nervosa, death by suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping,
fatigue, headaches, migraines, loss of vision, eye strain, among other harmful effects.

          73.   DEFENDANTS defectively designed the platform to specifically appeal to and
addict children, adolescents and young adults, who were particularly unable to appreciate the risks
posed by the platform, and particularly susceptible to harms from the product.




                                                      21
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 24 of 94




       74.     DEFENDANTS effectively designed the platform to be addictive and take
advantage of the chemical reward system of users’ brains (especially young users) to create
addiction and additional mental and physical health harms.
       75.     DEFENDANTS defectively designed Instagram that is inherently dangerous

because it included features making the product addictive and likely to cause the mental and
physical health harms listed above. These features include, but are not limited to: (1) engagement-
based ranking (sorting content on a user’s feed based on engagement or “meaningful social

interactions” rather than chronology); (2) intermittent variable rewards (a system of “likes”,
comments, strategically-timed notifications, promoting the content of new users and users who
have not posted in a while, among other features); (3) face tracking and augmentation (i.e., photo
and video filters designed to make users appear more attractive); (4) endless scrollable content
(especially auto-playing video content such as the Instagram “Reels” content feed); (5) the
interaction of these features; and (6) other features of the platform which are currently unknown
and hidden from users and governments.

       76.     DEFENDANTS defectively designed the platform and DEFENDANTS failed to
test as to the safety of features they developed and implemented for use in the platform. Once
DEFENDANTS did perform some product testing and had knowledge of ongoing harm to
Plaintiff, they failed to adequately remedy the product defects or warn Plaintiff.

       77.     Instagram does not perform as safely as a reasonable and ordinary consumer would
reasonably assume and reasonably expect. Instagram poses a risk of serious mental and physical
health injuries as listed above.
       78.     The risks inherent in the design of Instagram significantly outweigh any benefits
of such design.
       79.     DEFENDANTS could have utilized cost effective, reasonably feasible alternative
designs to minimize these harms, such as by designing the product without the harm causing
features listed above, that were less addictive, less likely to cause mental health harms, while still
providing an optimal social media experience and facilitating social connection.


                                                       22
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 25 of 94




       80.     DEFENDANTS could have limited the duration of login sessions to prevent
harmful, extended use of the platform and could have designed the platform to logout for a period
of time if excessive use occurred. It is well established in research that to effectively stay
connected socially, a person only needs a limited amount of use time. Instead, DEFENDANTS
designed a product that uses behavioral engineering to maximize the number of use sessions and
length of use per session, resulting in serious harm to Plaintiff.
       81.     DEFENDANTS could have used technology to enable user-level access

restrictions so that use was tied to a user’s age verification, restricting those underaged from using
the platform, or other youth protecting features.
       82.     DEFENDANTS could have utilized cost effective, reasonably feasible alternative
designs to minimize these harms, including, but not limited to:
               a. Designing a platform that did not include the features listed above while still

                    fulfilling the social, interest, and business networking purposes of a social

                    media platform;

               b. Default protective limits to length of use, frequency of use, or content types;

               c. Opt-in restrictions to length of use, frequency of use, or content types;

               d. Session time limits;

               e. Blocks to use during certain times of day (such as morning, during work or

                    school periods, or during evenings);

               f. Session time notifications, warnings, or reports;

               g. Warning of health effects of use and extended use upon sign-up;

               h. Parental controls;

               i.   Notification to parents regarding their child’s extensive use, use during sleep

                    hours, or exposure to harmful content on the platform,

               j.   Self-limiting tools;




                                                       23
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 26 of 94




               k. Implementing labels on images and videos that have been edited through the

                    platform;

               l.   Age-based content filtering;

               m. General content filtering;

               n. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                    feed of potentially harmful content (e.g., content that causes negative social

                    comparison and misleading lack of realism) such as in the genres of lifestyle,

                    influencer, beauty, fitness, success flaunting, and/or heavily edited images and

                    videos;

               o. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                    feed of potentially harmful content, such as inappropriate or salacious content;

               p. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                    feed of potentially harmful content such as controversial, political, or

                    emotionally weighted content;

               q. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                    feed of potentially harmful content such as content encouraging or promoting

                    eating disorders, depressive thinking, self-harm, or suicide;

               r. Informational labelling about the misleading and unrealistic nature of the

                    content on a user’s feed and the resulting feed composite because of content

                    editing and algorithmic recommendation, presentation, and sorting;

               s. Chronological presentation of content rather than algorithmic; and

               t.   Many other less harmful alternatives.

       83.     Instead, DEFENDANTS designed a platform that aggressively addict users with
algorithms and features that increase addictiveness, use time, frequency of use, attention stealing,
engagement with the platform, mental health harms, and profit to Meta, all to the detriment of
users’ wellbeing.



                                                      24
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 27 of 94




       84.     It is reasonable for parents to expect that social media products that actively
promote their platform to children and adolescents will undertake reasonable efforts to notify
parents when their child’s use becomes excessive, occurs during sleep time, or exposes the child
to harmful content. Defendants could feasibly design the product to identify adolescent users who
are using the product excessively, using it during sleeping hours, or being exposed to harmful
content, and notify their parents, at negligible cost.
       85.     Engagement-based ranking and intermittent variable rewards are highly addictive,

promote harmful social comparison, encourage bullying and conflict, can trap users in a cycle of
viewing content that is innately harmful or in a manner that is harmful and present a false reality.
Image and video filters inflict unrealistic and biased beauty standards upon users and cause
harmful social comparison based on a misleading curation of peers’ appearances, especially
among teenage female users.

       86.     The collaboration of these features multiplies the platform’s power to inflict harm
by heightening the platform’s addictive nature, increasing exposure to content that triggers
negative social comparison, exposing users to innately harmful content, increasing time of
exposure to harm, further encouraging bullying, and promoting conflict, and multiplying harm in
other ways.

       87.     The features combine to create a user interface of endless, auto-playing, image,
and video content, that is algorithmically sorted to place the most attention-grabbing content at
the top and/or in a distilled feed that is very difficult to cease consuming, especially for young
users. Content that is promoted by the algorithm is often related to beauty, success/wealth
flaunting, or lifestyles, which causes negative physical or social comparison, especially among
teens. Meta’s algorithms also promote controversial, disturbing, negative, and/or emotionally
charged content causing harm to users.
       88.     The combined result of these features is to present to users a false reality—it
presents to users a world which is constantly controversial and negative; where most other people
are exceedingly more attractive than the user, where most other people are exceedingly more


                                                         25
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 28 of 94




successful and/or competent than the user; and which will facilitate and encourage harmful
behaviors such as self-harm and eating disorders.

         89.   These features take advantage of biological systems, human behavior, and
psychology, to addict and condition users to engage in repetitive content-consuming actions such

as scrolling, “liking,” and sharing content in search of repeated dopamine releases. All the while,
the users’ input and behavior are tracked to allow the platform to automatically tune itself to each
individual user to become as addictive and difficult to stop engaging with as possible.

         90.   DEFENDANTS failed to design the product with adequate warnings about the
likely harms of use.
         91.   Plaintiff used Instagram as intended or in reasonably foreseeable ways.
DEFENDANTS specifically intended for children and adolescents to use its product and were
aware that children and adolescents were doing so.
         92.   Plaintiff’s injuries—physical, emotional, and economic—were reasonably
foreseeable to DEFENDANTS at the time of the product’s design, marketing, and operation.
         93.   Instagram was defective and unreasonably dangerous when they left
DEFENDANTS’ sole possession/control and were offered to users. The defects continued to exist
through use by consumers, including Plaintiff, who used the product without any substantial
change in the product’s condition.

         94.   Plaintiff was injured as a direct and proximate result of the platform’s defective
design as described herein. The defective design of Instagram was a proximate cause of Plaintiff’s
harms.

         95.   Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and
punitive damages, medical monitoring to diagnose the social media induced injuries at an earlier
date to allow for timely treatment and prevention of exacerbation of injuries, together with
interest, costs of suit, attorneys' fees, and all such other relief as the Court deems proper.
                              SECOND CAUSE OF ACTION
                         STRICT LIABILITY - FAILURE TO WARN



                                                       26
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 29 of 94




       96.     Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.

       97.     Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.
       98.     At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited from
platform that Plaintiff used.
       99.     Instagram was and is in a defective condition that is unreasonably dangerous and
unsafe to the consumer by failing to adequately warn users about the risk that the platform pose
of social media addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm,
thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by
suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches,
migraines, loss of vision, eye strain, among other harmful effects, as described herein.

       100.    DEFENDANTS were aware that Instagram posed, among other things, the above-
stated risks considering scientific and medical knowledge that was generally accepted at the time
of design, development, coding, dissemination, public release, and operation of its platform.

       101.    Instagram is defective because, among other reasons described herein,
DEFENDANTS failed to warn consumers, including Plaintiff, in the platform’s, notices and
through the marketing, promotion and advertising of the platform that, according to
DEFENDANTS own research:
               a. At least five-to-six percent of fourteen-year-olds admit to addiction to the
                   platform; and
               b. Sixty-six percent of teen girls and forty-six percent of teen boys have
                   experienced negative social comparison on Instagram




                                                      27
Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 30 of 94




        c. Thirteen- and-one-half percent of teen-girl Instagram users say the platform
           makes thoughts of suicide and self-injury worse; and

        d. Instagram users are twice as likely to develop an eating disorder as those who
           do not use social media

 102.   Instagram is also defective for failing to warn users that:
        a. Engagement-based ranking and intermittent variable rewards are
           i. highly addictive,

           ii. promote harmful social comparison,
           iii. promote negative, controversial, and/or emotionally activating content,

                promote negative, harmful, and/or dangerous interest groups and/or
                content creators,

           iv. encourage bullying and conflict,

           v. can trap users in a cycle of viewing content that is innately harmful or in

                a manner that is harmful, such as content related to eating disorders,

                depression, or self-harm,

           vi. present a false reality (regarding one’s comparative status to their peers,

                and/or the general state of world or political affairs);

        b. Face tracking and augmentation (image and video filters)

           i. inflict unrealistic and biased beauty standards upon users,

          ii.   cause harmful social comparison based on a misleading curation of peers’

                appearances and success, especially among teenage female users;

        c. The platform causes the mental and physical health harms as listed above;

        d. The likelihood of these harms and likely severity for these harms are even
           greater for the developing brains of children and adolescents;
        e. The likelihood and intensity of these harmful effects are exacerbated by the
           interaction of these features; and



                                                28
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 31 of 94




               f. The likelihood and intensity of these harmful effects are increased by other

                   features and innerworkings of the platform which are currently publicly

                   unknown and hidden from users and governments.

       103.    Through their incredible power as the premier social media company (and/or
association with that company), DEFENDANTS have silenced and suppressed information,
research efforts, and public awareness efforts regarding the harmful heath impact of their
platform.

       104.    Rather than warning users of likely harms, DEFENDANTS regularly fine-tune the
platform to aggressively psychologically engineer new and ongoing users to increase addiction
and exposure to the platform, causing and increasing other mental and physical harms. The
platform encourages users to recruit more users across their personal contacts.
       105.    The failure of DEFENDANTS to adequately warn about their defective product
and choice to instead misleadingly advertise through conventional, online, and peer-to-peer
avenues created a danger of injuries described herein that were reasonably foreseeable at the time
of design, distribution, dissemination, and operation of the platform.

       106.    Ordinary consumers would not have recognized the potential risks of Instagram
when used in a manner reasonably foreseeable to DEFENDANTS.
       107.    DEFENDANTS are strictly liable for creating, operating, and unleashing on users
a defective platform that contained inadequate warnings.
       108.    Plaintiff could not have averted injury through the exercise of reasonable care for
reasons including DEFENDANTS’ concealment of the true risks posed by Instagram.

       109.    The defects in Instagram, including the lack of adequate warnings and instructions,
existed at the time the product left DEFENDANTS’ sole possession and continued to exist
through the product’s dissemination to and use by consumers, including Plaintiff. Instagram was
used without substantial change in their condition, by anyone other than Defendants and its
employees, from the time of their development.




                                                     29
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 32 of 94




       110.       At all relevant times, DEFENDANTS could have provided adequate warnings and
instructions to prevent the harms and injuries set forth herein, such as providing full and accurate
information about the product in advertising, at point of sign-up, and at various intervals of the
user interface.

       111.       Plaintiff was injured as a direct and proximate result of DEFENDANTS’ failure
to warn and instruct because she would not have used or signed up on Instagram had she received
adequate warnings and instructions that she could be harmed by platform design that hijacks a

user’s neural reward system, develop an addiction, be exposed to an algorithmic content feed
causing negative social and appearance comparison and a negative false presentation of reality,
and suffer injuries including suicidal ideation; attempted self-harm; self-harm; body dysmorphia;
eating disorder including, anorexia, bulimia, laxatives, diuretics, and excessive exercising,
anxiety and depression.

       112.       The only content on the website that has a semblance of a warning for the issues
listed above is a link to a “Family Digital Wellness Guide” created by the Boston Children’s
Hospital Digital Wellness Lab. Buried in this guide is a mention that screens should not be used
an hour before bed, because “[u]sing screens before bedtime or naptime can excite kids and keep
them from falling asleep. The ‘blue light’ that comes from TVs and other screen devices can
disrupt your child's natural sleep cycle, making it harder for them to fall asleep and wake up
naturally. . . . [Late screen use can] result [ ] in your child getting less sleep and struggling to
wake up on time. On average, school-age children need 9-12 hrs of sleep each night.”
       113.       The “Family Digital Wellness Guide” only alludes to the platform’s manipulation,
addictiveness, behavioral control, and data tracking of users: “Advertisers target children with
lots of commercials, everything from sneakers and toys to unhealthy foods and snacks high in fat,
sugar, and calories. Your children may also start becoming familiar with online influencers, who
are also often paid to advertise a different product and services on social media. Helping your
child think critically about how advertising tries to change behaviors, helps your child understand




                                                      30
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 33 of 94




the purpose of ads, and empowers them to make informed decisions.” The guide also briefly
discusses cyber bullying.

       114.    Finally, the guide mentions the body image harms social media inflicts, but it sole
blames influencers as the cause rather than the platform’s algorithms and features and asserts that

the burden to remedy the issue is on parents, rather than social media companies. “Science says:
Tweens are often exposed to a lot of information online and through other media, both true and
false, about how bodies ‘should’ look and what they can do to ‘improve’ their appearance. Certain

body types are often idolized, when in reality bodies are incredibly diverse. There are many online
accounts, websites, and influencers that make youth feel inadequate by encouraging them to lose
weight or build up muscle, harming both their mental and physical health. . . . Protip: Actively
listen and show that you care about how your child is feeling about puberty and how their body
is changing. Talk with them about images on social and other media as these often set unrealistic
ideals and help them understand that these images are often digitally altered or filtered so that
people look more ‘beautiful’ than they really are.” No similar warning is offered to young users
in Meta’s advertisements, at signup, or anywhere on the platform. Instead, Meta unreasonably
and defectively leaves it to individuals’ research ability for a user to be informed about the key
dangers of their platforms.
       115.    This informational report is from a third party, not Meta. Meta merely links to this
information on a “Youth Portal” website in a location that is difficult and time-consuming to find.
The is guide devoid of any mention of strong role that Instagram’s individual or collective
algorithm(s) and features play in each of these harms. Furthermore, it is uncertain how long even
this limited information has been tethered by Meta.

       116.    On another Meta created website that proposes to “help children and young people
become empowered in a digital world,” its “Wellness” subpage lists five activities, “mindful
breathing,” “finding support,” “building resilience: finding silver linings,” “a moment for me,”




                                                      31
         Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 34 of 94




and “taking a break.”10 Nowhere does the website mention the mental health risks posed by
Instagram as a result of the product features listed above.

           117.    The platform’s lack of adequate and sufficient warnings and instructions, and its
inadequate and misleading advertising, was the proximate cause and/or a substantial contributing

factor in causing the harm to Plaintiff.
           118.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and
punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.
                                 THIRD CAUSE OF ACTION
                        STRICT LIABILITY - MANUFACTURING DEFECT

           119.    Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.
           120.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this cause of action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.

           121.    At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited from
platform that Plaintiff used.

           122.    DEFENDANTS actively controlled the Instagram platform during the entire
period Plaintiff used them, as DEFENDANTS expected.
           123.    Plaintiff used Instagram while they were actively controlled by DEFENDANTS
and any changes or modifications to the conditions of this platform were foreseeable by these
Defendants.



10
     https://www.facebook.com/fbgetdigital/youth/wellness


                                                            32
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 35 of 94




       124.    Plaintiff used Instagram in a manner intended and/or foreseeable to
DEFENDANTS.

       125.    Instagram contained manufacturing defects as developed by DEFENDANTS and
as placed in the stream of commerce in that the product deviated from component specifications

and design, posed a risk of serious injury or death, and failed to perform as safely as the intended
design would have performed.
       126.    Without limitation, examples of DEFENDANTS’ inadequate development,
management, operation, maintenance, testing, and inspecting include:

                 a. Failure to follow Good Manufacturing Practices (“GMPs”);

                 b. Failure to inspect and test the computer programming underlying the platform

                     and features for errors, unintended output, or unintended executed results of

                     a nature that could cause users harm;

                 c. Failure to adequately inspect/test Instagram during the development process;

                 d. Failure to test the mental and physical health impacts of its platform and

                     product features, especially in regards to children and adolescents;

                 e. Failure to implement procedures that would measure and confirm the

                     behavioral and mental health impact of the platform;

                 f. Failure to timely establish procedures or practices to prevent Instagram from

                     having unintended mental and physical health consequences;

                 g. Failure to test and research the actual user health impact cause by the

                     interaction of the algorithm and other harm causing features listed above;

                 h. Failure to test the platform’s output to users given various user inputs;

                 i. Failure to adequately test the user health result of specific computer coding

                     and programs that constitute the platform and its features.




                                                      33
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 36 of 94




       127.    Plaintiff was injured as a direct and proximate result of the developmental,
inspection, coding, programming, testing, monitoring, and operational defects of Instagram as
described herein.
       128.    The defective development, inspection, coding, programming, testing, monitoring,

and operation of Instagram was a proximate cause of Plaintiff’s harms.
       129.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and
punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                            FOURTH CAUSE OF ACTION
                      PRODUCTS LIABILITY - NEGLIGENT DESIGN

       130.    Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.
       131.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.

       132.    At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited from
platform that Plaintiff used.

       133.    Instagram was designed and intended to be used as a social media platform.
       134.    DEFENDANTS knew or, by the exercise of reasonable care, should have known
use of Instagram was dangerous, harmful, and injurious when used by Plaintiff in a reasonably
foreseeable manner, particularly so with children, adolescents and young adults.
       135.    DEFENDANTS knew or, by the exercise of reasonable care, should have known
ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of



                                                       34
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 37 of 94




Instagram. Instagram is highly addictive and likely to cause mental and physical injuries as listed
above.

           136.   DEFENDANTS owed a duty to all reasonably foreseeable users to design a safe
product.

           137.   DEFENDANTS breached their duty by failing to use reasonable care in the design
of Instagram because the product was addictive; had mental, cognitive, and physical health
impacts; and had a likelihood of causing social media addiction, depression, body dysmorphia,
anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder, anorexia
nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of focus, ADHD,
difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among other harmful
effects.
           138.   DEFENDANTS breached their duty by failing to use reasonable care in the design
of Instagram by negligently designing the platform with physically and mentally harmful features
including, but not limited to: (1) engagement-based ranking (sorting content on a user’s feed
based on engagement or “meaningful social interactions” rather than chronology); (2) intermittent
variable rewards (a system of “likes”, comments, strategically-timed notifications, promoting the
content of new users and users who have not posted in a while, among other features); (3) face
tracking and augmentation (i.e., photo and video filters designed to make users appear more
attractive); (4) endless scrollable content (especially auto-playing video content such as the
Instagram “Reels” content feed); (5) the interaction of these features; and (6) other features of the
platform which are currently unknown and hidden from users and governments.
           139.   Engagement-based ranking and intermittent variable rewards are highly addictive,
promote harmful social comparison, encourage bullying and conflict, can trap users in a cycle of
viewing content that is innately harmful or in a manner that is harmful, and present a false reality.
Image and video filters inflict unrealistic and biased beauty standards upon users and cause
harmful social comparison based on a misleading curation of peers’ appearances, especially
among teenage female users.


                                                      35
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 38 of 94




       140.    The collaboration of these features multiplies the platform’s power to inflict harm
by heightening the platform’s addictive nature, increasing exposure to content that triggers
negative social comparison, exposing users to innately harmful content, increasing time of
exposure to harm, further encouraging bullying and promoting conflict, and multiplying harm in
other ways.
       141.    The features combine to create a user interface of endless, auto-playing image and
video content, that is algorithmically sorted to place the most attention-grabbing content at the

top and/or in a distilled feed that is very difficult to cease consuming, especially for young users.
Content that is promoted by the algorithm is often related to beauty, success/wealth flaunting, or
lifestyles, which causes negative physical or social comparison, especially among teens. Meta’s
algorithms also promote controversial, disturbing, negative, and/or emotionally charged content
causing harm to users.

       142.    The combined result of these features is to present to users a false reality—it
presents to users a world which is constantly controversial and negative; where most other people
are exceedingly more attractive than the user; where most other people are exceedingly more
successful and/or competent than the user; and which will facilitate and encourage harmful
behaviors such as self-harm and eating disorders.

       143.    These features take advantage of biological systems, human behavior, and
psychology, to addict and condition users to engage in repetitive, content-consuming actions such
as scrolling, “liking,” and sharing content in search of repeated dopamine releases. All the while,
the users’ input and behavior are tracked to allow the platform to automatically tune itself to each
individual user to become as addictive and difficult to stop engaging with as possible.

       144.    Potential health harms from these features include, among other types of harm,
social media addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm,
thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by
suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches,
migraines, loss of vision, eye strain, among other harmful effects.


                                                      36
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 39 of 94




       145.       DEFENDANTS breached their duty by failing to use reasonable care in the design
of Instagram by negligently designing Instagram to specifically appeal to children and
adolescents, who were particularly unable to appreciate the risks posed by the platforms.
       146.       DEFENDANTS breached their duty by failing to use reasonable care by failing to

use cost effective, reasonably feasible alternative designs that would make the product less
addictive and harmful to children and adolescents.
       147.       DEFENDANTS breached their duty by failing to use reasonable care by failing to
use cost effective, reasonably feasible alternative designs to minimize these harms, including but
not limited to:
                  a. Designing a platform that did not include the features listed above while still

                     fulfilling the social, interest, and business networking purposes of a social

                     media platform;

                  b. Default protective limits to length of use, frequency of use, or content types;

                  c. Opt-in restrictions to length of use, frequency of use, or content types;

                  d. session time limits;

                  e. Blocks to use during certain times of day (such as morning, during work or
                     school periods, or during evenings);
                  f. Session time notifications, warnings, or reports;

                  g. Warning of health effects of use and extended use upon sign-up;

                  h. Parental controls;

                  i. Self-limiting tools;

                  j. Implementing labels on images and videos that have been edited through the
                     platform;
                  k. Age-based content filtering;

                  l. General content filtering;

                  m. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                     feed of potentially harmful content (by causing negative social comparison and


                                                        37
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 40 of 94




                   misleading lack of realism) such as in the genres of lifestyle, influencer, beauty,

                   fitness, success flaunting, and/or heavily edited images and videos;

               n. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                   feed of potentially harmful content such as inappropriate or salacious content;

               o. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                   feed of potentially harmful content such as controversial, political, or

                   emotionally weighted content;

               p. Algorithmic (whether default or opt-in) reductions or elimination in a user’s

                   feed of potentially harmful content such as content encouraging or promoting

                   eating disorders, depressive thinking, self-harm, or suicide;

               q. Informational labelling about the misleading and unrealistic nature of the

                   content on a user’s feed and the resulting feed composite because of content

                   editing and algorithmic presentation/sorting;

               r. Chronological presentation of content rather than algorithmic;

               s. Many other less harmful alternatives.

       148.    DEFENDANTS breached their duty by failing to use reasonable care by failing to
use cost effective, reasonably feasible alternative designs that could have reduced mental and
physical harms to users, especially youth. Instead, DEFENDANTS designed a platform that
aggressively addict users with algorithms and features that increase addictiveness, use time,
frequency of use, attention stealing, engagement with the platform, mental health harms, and
profit to Meta, all to the detriment of users’ wellbeing.
       149.    DEFENDANTS breached their duty by failing to use reasonable care by failing to
use cost-effective, reasonably feasible alternative designs utilizing technology to enable user-
level access restrictions so that use was tied to a user’s age verification, restricting those
underaged from using the platform, or other youth-protecting features.



                                                      38
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 41 of 94




       150.    A reasonable company under the same or similar circumstances would have
designed a safer product.

       151.    Plaintiff was harmed directly and proximately by DEFENDANTS’ failure to use
reasonable care in the design of Instagram. Such harm includes suicidal ideation; attempted self-

harm; self-harm; body dysmorphia; eating disorder including, anorexia, bulimia, laxatives,
diuretics, and excessive exercising, anxiety and depression, among other harmful effects.
       152.    The design of Instagram was a proximate cause of Plaintiff’s harms.
       153.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.
                            FIFTH CAUSE OF ACTION
                PRODUCTS LIABIITY - NEGLIGENT FAILURE TO WARN

       154.    Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.
       155.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.
       156.    At all relevant times, the DEFENDANTS designed, developed, managed,
operated, inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited
from platform that Plaintiff used.
       157.    The DEFENDANTS knew or, by the exercise of reasonable care, should have
known use of Instagram was dangerous, harmful, and injurious when used by Plaintiff in a
reasonably foreseeable manner, particularly with children, adolescents and young adults.
       158.    The DEFENDANTS knew or, by the exercise of reasonable care, should have
known ordinary consumers such as Plaintiff would not have realized the potential risks and



                                                       39
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 42 of 94




dangers of Instagram. Instagram is highly addictive and likely to cause mental and physical
injuries as listed above.

       159.    The DEFENDANTS knew or, by the exercise of reasonable care, should have
known that Instagram posed risks, including the risks of social media addiction, depression, body

dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating
disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of
focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among

other harmful effects, as described herein, that were known and knowable in light of scientific
and medical knowledge that was generally accepted in the scientific community at the time of
development, dissemination, public release, and operation of the platform.
       160.    The DEFENDANTS owed a duty to all reasonably foreseeable users to disclose
the risks associated with the use of Instagram.

       161.    The DEFENDANTS breached their duty of care by failing to use reasonable care
in providing adequate warnings in the platform’s sign-up warnings, and through marketing,
promoting and advertising of the platform including that, according to its own research:

               a. At least five-to-six percent of fourteen-year-olds admit to addiction to the
                   platform; and
               b. Sixty-six percent of teen girls and forty-six percent of teen boys have
                   experienced negative social comparisons on Instagram;
               c. Thirteen-and-one-half percent of teen-girl Instagram users say the platform
                  makes thoughts of suicide and self-injury worse

               d. Seventeen percent of teen-girl Instagram users say the platform makes eating
                  issues worse;

               e. Instagram users are twice as likely to develop an eating disorder as those who
                  don’t use social media.

       162.    Instagram is also defective for failing to warn users that:
               a. Engagement-based ranking and intermittent variable rewards are
                   i. highly addictive,



                                                      40
     Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 43 of 94




                  ii. promote harmful social comparison,

                  iii. promote negative, controversial, and/or emotionally activating content,
                       promote negative, harmful, and/or dangerous interest groups and/or

                       content creators,
                  iv. encourage bullying and conflict,

                  v. can trap users in a cycle of viewing content that is innately harmful or in

                       a manner that is harmful, such as content related to eating disorders,

                       depression, or self-harm,

                  vi. present a false reality (regarding one’s comparative status to their peers,

                       and/or the general state of world or political affairs);

              b. Face tracking and augmentation (image and video filters)

                  j. inflict unrealistic and biased beauty standards upon users,

                iii.   cause harmful social comparison based on a misleading curation of peers’

                       appearances and success, especially among teenage female users;

              c. The platform causes the mental and physical health harms as listed above;

              d. The likelihood of these harms and likely severity for these harms are even
                  greater for the developing brains of children and adolescents;

              e. The likelihood and intensity of these harmful effects are exacerbated by the
                  interaction of these features; and
              f. The likelihood and intensity of these harmful effects are increased by other
                  features and innerworkings of the platform which are currently publicly
                  unknown and hidden from users and governments.
       163.   The failure of DEFENDANTS to adequately warn about its defective product, and
its efforts to misleadingly advertise through conventional and social media avenues, created a
danger of injuries described herein that were reasonably foreseeable at the time of design,
development, coding, operation, and dissemination of the platform.

                                                       41
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 44 of 94




        164.    Through their incredible power as the premier social media company (and/or
association with that company), DEFENDANTS have silenced and suppressed information,
research efforts, and public awareness efforts regarding the harmful heath impact of their
platform.

        165.    Rather than warning users of likely harms, DEFENDANTS regularly fine-tune the
platform to aggressively socially and psychologically engineer new and ongoing users to increase
addiction and exposure to a platform, causing and increasing physical and psychological harm.

The platform encourages users to recruit more users across their personal electronic contacts.
        166.    The failure of DEFENDANTS to adequately warn about its defective product—
and its efforts to misleadingly advertise through conventional, online, and peer-to-peer avenues—
created a danger of injuries described herein that were reasonably foreseeable at the time of
design, distribution, and operation of the platform.

        167.    At all relevant times, DEFENDANTS could have provided adequate warnings and
instructions to prevent the harms and injuries set forth herein, such as providing full and accurate
information about the product in advertising, at point of dissemination/account registration, and
at various intervals of the user interface.

        168.    A reasonable company under the same or similar circumstances would have
warned and instructed of the dangers.

        169.    Plaintiff was injured as a direct and proximate result of DEFENDANTS’ failure
to warn and instruct because she would not have used Instagram had she received adequate
warnings and instructions that the platform could cause social media addiction, depression, body
dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating
disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of
focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among
other harmful effects.




                                                       42
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 45 of 94




        170.    Meta’s lack of adequate and sufficient warnings and instructions, and its
inadequate and misleading advertising, was a substantial contributing factor in causing the harm
to Plaintiff.
        171.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.

                            SIXTH CAUSE OF ACTION
                PRODUCTS LIABILITY – NEGLIGENT MANUFACTURING

        172.    Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.
        173.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.
        174.    At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, controlled, advertised, promoted, and or benefited from
platform that Plaintiff used.
        175.    DEFENDANTS had a duty to use exercise reasonable care, in the development,
coding, operation, maintained, inspecting, testing, and dissemination of Instagram.

        176.    DEFENDANTS knew or, by the exercise of reasonable care, should have known
use of Instagram carelessly developed, coded, operated, maintained, inspected, tested, and
disseminated was dangerous, harmful and injurious when used by Plaintiff in a reasonably
foreseeable manner.
        177.    DEFENDANTS knew or, by the exercise of reasonable care, should have known
ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of




                                                       43
     Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 46 of 94




Instagram improperly developed, coded, operated, maintained, inspected, tested, and
disseminated.

       178.     Without limitation, examples of DEFENDANTS’ breaching their duty to exercise
reasonable care in development, management, maintenance, testing, and inspecting include:

                a. Failure to follow Good Manufacturing Practices (“GMPs”);

                b. Failure to inspect and test the computer programming underlying the platform

                     and features for errors, unintended output, or unintended executed results of a

                     nature that could cause users harm;

                c. Failure to adequately inspect/test Instagram during the development process;

                d. Failure to test the mental and physical health impacts of their platform and

                     product features, especially in regards to children and adolescents;

                e. Failure to implement procedures that would measure and confirm the

                     behavioral and mental health impact of the platform;

                f. Failure to timely establish procedures or practices to prevent Instagram from

                     having unintended mental and physical health consequences.

                g. Failure to test and research the actual user health impact cause by the

                     interaction of the algorithm and other harm causing features listed above;

                h. Failure to test the platform’s output to users given various user inputs;

                i. Failure to adequately test the user health result of specific computer coding and

                     programs that constitute the platform and their features.

       179.     A reasonable manufacturer under the same or similar circumstances would have
implemented appropriate manufacturing procedures to better ensure the quality of their product.
       180.     Plaintiff was injured as a direct and proximate result of DEFENDANTS’ failure
to use reasonable care in the development, coding, operation, maintenance, inspection, testing,
and dissemination.

                                                       44
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 47 of 94




         181.   DEFENDANTS negligent development, coding, operation, maintenance,
inspection, testing, and dissemination of Instagram was a substantial factor in causing Plaintiff’s
harms.
         182.   Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.

                             SEVENTH CAUSE OF ACTION
                       NEGLIGENCE AND/OR GROSS NEGLIGENCE

         183.   Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.
         184.   Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.
         185.   At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Instagram and therefore owed a duty of reasonable care to avoid causing
harm to those that used it, such as Plaintiff.
         186.   Instagram was the type of product that could endanger others if negligently made
or promoted.
         187.   DEFENDANTS had a duty of reasonable care in designing, manufacturing,
coding, inspecting, testing, marketing, advertising, promoting, supplying, disseminating and/or
making publicly available the platform to avoid causing harm to those that used Instagram.
         188.   DEFENDANTS knew or should have known by the exercise of reasonable care,
the risks to users of the platform, of mental and physical health harms.




                                                       45
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 48 of 94




         189.   DEFENDANTS knew or should have known by the exercise of reasonable care,
that children, adolescents and children and young people would be attracted to this product.

         190.   DEFENDANTS knew or, by the exercise of reasonable care, should have known
use of Instagram was dangerous, harmful, and injurious when used by Plaintiff in a reasonably

foreseeable manner, particularly with children, adolescents and young adults.
         191.   DEFENDANTS knew or, by the exercise of reasonable care, should have known
ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of
Instagram. Instagram is highly addictive and likely to cause mental and physical injuries as listed
above.
         192.   DEFENDANTS knew or, by the exercise of reasonable care, should have known
that Instagram posed risks including the risks of social media addiction, depression, body
dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating
disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of
focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among
other harmful effects, as described herein, that were known and knowable in light of scientific
and medical knowledge that was generally accepted in the scientific community at the time of
development, dissemination, public release, and operation of the platform.
         193.   DEFENDANTS knew or should have known that Instagram needed to be

researched, designed, manufactured, coded, programmed, assembled, inspected, tested, marketed,
advertised, promoted, operated, managed, maintained, supplied, disseminated, and/or made
available properly, without defects and with due care to avoid needlessly causing harm.
         194.   DEFENDANTS knew or should have known that Instagram would cause harm to
users if the following features, among others, were included: (1) engagement-based ranking
(sorting content on a user’s feed based on engagement or “meaningful social interactions” rather
than chronology); (2) intermittent variable rewards (a system of “likes”, comments, strategically
timed notifications, promoting the content of new users and users who have not posted in a while,
among other features); (3) face tracking and augmentation (i.e., photo and video filters designed


                                                     46
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 49 of 94




to make users appear more attractive); (4) endless scrollable content (especially auto-playing
video content such as the Instagram “Reels” content feed); (5) the interaction of these features;
and (6) other features of the platform which are currently unknown and hidden from users and
governments.

       195.    DEFENDANTS knew or should have known that engagement-based ranking and
intermittent variable rewards are highly addictive, promote harmful social comparison, encourage
bullying and conflict, can trap users in a cycle of viewing content that is innately harmful or in a

manner that is harmful, and present a false reality. Image and video filters inflict unrealistic and
biased beauty standards upon users and cause harmful social comparison based on a misleading
curation of peers’ appearances, especially among teenage female users.
       196.    DEFENDANTS knew or should have known that the collaboration of these
features multiplies the platform’s power to inflict harm by heightening the platform’s addictive
nature, increasing exposure to content that triggers negative social comparison, exposing users to
innately harmful content, increasing time of exposure to harm, further encouraging bullying and
promoting conflict, and multiplying harm in other ways.
       197.    DEFENDANTS knew or should have known that the features combine to create a
user interface of endless, auto-playing, image and video content, that is algorithmically sorted to
place the most attention-grabbing content at the top and/or in a distilled feed that is very difficult
to cease consuming, especially for young users. Content that is promoted by the algorithm is often
related to beauty, success/wealth flaunting, or lifestyles, which causes negative physical or social
comparison, especially among teens. Meta’s algorithms also promote controversial, disturbing,
negative, and/or emotionally charged content causing harm to users.

       198.    DEFENDANTS knew or should have known that the combined result of these
features is to present to users a false reality—it presents to users a world which is constantly
controversial and negative; where most other people are exceedingly more attractive than the user;
where most other people are exceedingly more successful and/or competent than the user; and
which will facilitate and encourage harmful behaviors such as self-harm and eating disorders.


                                                       47
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 50 of 94




       199.    DEFENDANTS knew or should have known that these features take advantage of
biological systems, human behavior, and psychology, to addict and condition users to engage in
repetitive content-consuming actions such as scrolling, “liking,” and sharing content in search of
repeated dopamine releases. All the while, the users’ input and behavior are tracked to allow the
platform to automatically tune itself to each individual user to become as addictive and difficult
to stop engaging with as possible.
       200.    DEFENDANTS knew or should have known that Instagram could cause serious

risk of harm, particularly to young persons, children, and adolescents.
       201.    DEFENDANTS were negligent, reckless, and careless and failed to take the care
and duty owed to Plaintiff, thereby causing Plaintiff to suffer harm.

       202.    The negligence and extreme carelessness of DEFENDANTS includes, but is not
limited to, the following:
               a. Failure to perform adequate testing of the Instagram prior to marketing to

                   ensure safety, including long-term testing of the product, and testing for

                   physical and mental health injuries;

               b. Failure to warn consumers that Instagram had not been adequately tested or

                   researched prior to marketing to ensure safety;

               c. Failure to take reasonable care in the design of Instagram;

               d. Failure to use reasonable care in the production/development of Instagram;

               e. Failure to use reasonable care in the operation of Instagram;

               f. Failure to use reasonable care in the coding/assembly of Instagram;

               g. Failure to use reasonable care in advertising, promoting, and marketing

                   Instagram;

               h. Failure to use reasonable care in the dissemination of Instagram without

                   adequate warnings;



                                                     48
Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 51 of 94




      i. Use of a design that includes features that cause mental and physical harm,

         including, but not limited to: (1) engagement-based ranking (sorting content on

         a user’s feed based on engagement or “meaningful social interactions” rather

         than chronology); (2) intermittent variable rewards (a system of “likes,”

         comments, strategically-timed notifications, promoting the content of new

         users and users who have not posted in a while, among other features); (3) face

         tracking and augmentation (i.e., photo and video filters designed to make users

         appear more attractive); (4) endless scrollable content (especially auto-playing

         video content such as the Instagram “Reels” content feed); (5) the interaction

         of these features; and (6) other features of the platform which are currently

         unknown and hidden from users and governments;

      j. Use of a design, engagement-based ranking and intermittent variable rewards

         that DEFENDANTS knew or should have known that are highly addictive,

         promote harmful social comparison, encourage bullying and conflict, can trap

         users in a cycle of viewing content that is innately harmful or in a manner that

         is harmful, and present a false reality. Image and video filters inflict unrealistic

         and biased beauty standards upon users and cause harmful social comparison

         based on a misleading curation of peers’ appearances, especially among

         teenage female users;

      k. Use of design features that DEFENDANTS knew or should have known would

         interact to multiply the platform’s power to inflict harm by heightening the

         platform’s addictive nature, increasing exposure to content that triggers

         negative social comparison, exposing users to innately harmful content,




                                             49
Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 52 of 94




         increasing time of exposure to harm, further encouraging bullying and

         promoting conflict, and multiplying harm in other ways;

      l. Use of design features that DEFENDANTS knew or should have known would

         combine to create a user interface of endless, auto-playing, image and video

         content, that is algorithmically sorted to place the most attention-grabbing

         content at the top and/or in a distilled feed that is very difficult to cease

         consuming, especially for young users. Content that is promoted by the

         algorithm is often related to beauty, success/wealth flaunting, or lifestyles,

         which causes negative physical or social comparison, especially among teens.

         Meta’s algorithms also promote controversial, disturbing, negative, and/or

         emotionally charged content causing harm to users;

      m. Use of design features that DEFENDANTS knew or should have known would

         result in presenting to users a false reality—it presents to users a world which

         is constantly controversial and negative; most other people are exceedingly

         more attractive than the user, and most other people are more successful and/or

         competent than the user;

      n. Failure to inspect Instagram for it to operate properly and avoid addiction,

         overuse, or mental health harms;

      o. Failure to reasonably and properly test and properly analyze the testing of

         Instagram under reasonably foreseeable circumstances;

      p. Failure to warn consumers about the dangers associated with use of Instagram,

         in that it was unsafe, causes social media addiction, depression, body

         dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm,




                                            50
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 53 of 94




                   insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by suicide,

                   death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue,

                   headaches, migraines, loss of vision, eye strain, among other harmful effects;

               q. Failure to subsequently remedy harm-causing features of the platform after

                   Meta had actual knowledge of harm to users;

               r. Failure to provide any instructions regarding a safe manner, frequency, and

                   length of use of the platform per day;

               s. Failure of DEFENDANTS to verify the age of consumers creating accounts and

                   using Instagram;

               t. Failure to recall Instagram;

               u. All other failures, acts and omissions set forth herein.

       203.    DEFENDANTS’ acts and omissions constitute gross negligence, because they
constitute a total lack of care and an extreme departure from what a reasonably careful company

would do in the same situation to prevent foreseeable harm to Plaintiff.
       204.    DEFENDANTS acted and/or failed to act willfully, and with conscious and
reckless disregard for the rights and interests of Plaintiff, and their acts and omissions had a great

probability of causing significant harm and in fact resulted in such harm to Plaintiff.
       205.    Based on their strategic and intentional promotion, advertising and marketing
history, DEFENDANTS reasonably should have foreseen that children and young people would
try Instagram and quickly become addicted to Instagram, resulting in teenagers and young adults
developing lifelong addictions. After fine-tuning the product to addict users using features that
also result in serious mental health and physical harms, DEFENDANTS reasonably should have
foreseen the emotional distress this would cause on the individuals who would get addicted, as
well the stress this would place on their loved ones around them.




                                                       51
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 54 of 94




       206.    Defendants intentionally created an attractive nuisance to children, but
simultaneously failed to provide adequate warnings or safeguards from the harmful effects they
knew were occurring.
       207.    Plaintiff was injured as a direct and proximate result of negligence and/or gross

negligence as described herein. Such harm includes suicidal ideation; attempted self-harm; self-
harm; body dysmorphia; eating disorder including, anorexia, bulimia, laxatives, diuretics, and
excessive exercising, anxiety and depression, among other harmful effects, which may cause or

contribute to additional disease.
       208.    DEFENDANTS’ negligence and/or gross negligence were a substantial factor in
causing and or contributing to Plaintiff’s harms.

       209.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and
punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.
                               EIGHTH CAUSE OF ACTION
                            NEGLIGENT MISREPRESENTATION

       210.    Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.
       211.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.

       212.    At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,
and/or benefited from Instagram and therefore owed a duty of reasonable care to avoid causing
harm to those that used it, such as Plaintiff.




                                                       52
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 55 of 94




       213.    DEFENDANTS were negligent, reckless and careless and owed a duty to Plaintiff
to make accurate and truthful representations regarding Instagram, DEFENDANTS breached
their duty, thereby causing Plaintiff to suffer harm.
       214.    DEFENDANTS represented to Plaintiff—via the media, advertising, website,

social media, and promotions, among other misrepresentations described herein—that:
               a. Instagram was safe and were not harmful;

               b. Long-term, frequent, prolonged use was harmless;

               c. Instagram increased social connectivity, rather than causing feelings of

                    isolation; and

               d. An inaccurate and misleading portrayal of the platform’s mental and physical

                    health impact;

       215.    DEFENDANTS omitted/failed to ever inform Plaintiff and other consumers, by
any media, that, according to its own research:
               a.   At least five-to-six percent of fourteen-year-olds admit to addiction to the

                    platform; and

               b.   Sixty-six percent of teen girls and forty-six percent of teen boys have

                    experienced negative social comparisons on Instagram

               c. Thirteen-and-one-half percent of teen-girl Instagram users say the platform

                    makes thoughts of suicide and self-injury worse.

               d. Seventeen percent of teen-girl Instagram users say the platform makes eating

                    issues worse and

               e. Instagram users are twice as likely to develop an eating disorder as those who

                    don’t use social media.

       216.    Meta also omitted to inform users that, as it knew or should have known:
               a. Engagement-based ranking and intermittent variable rewards are

                                                        53
Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 56 of 94




         i.      highly addictive,

        ii.      promote harmful social comparison

       iii.      promote negative, controversial, and/or emotionally activating content,

       iv.       promote negative, harmful, and/or dangerous interest groups and/or

                 content creators,

        v.        encourage bullying and conflict,

       vi.        can trap users in a cycle of viewing content that is innately harmful or in

                 a manner that is harmful, such as content related to eating disorders,

                 depression, or self-harm, and

       vii.      present a false reality (regarding one’s comparative status to their peers,

                 and/or the general state of world or political affairs);

      b. Face tracking and augmentation (image and video filters):

              i. inflict unrealistic and biased beauty standards upon users, and

              ii. cause harmful social comparison based on a misleading curation of

                 peers’ appearances and success, especially among teenage female

                 users;

      c. The platform causes the mental and physical health harms as listed above;

      d. The likelihood of these harms and likely severity for these harms are even

              greater for the developing brains of children and adolescents;

      e. The likelihood and intensity of these harmful effects are exacerbated by the

              interaction of these features; and




                                                   54
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 57 of 94




               f. The likelihood and intensity of these harmful effects are increased by other

                   features and innerworkings of the platform which are currently publicly

                   unknown and hidden from users and governments.

       217.    These representations were false and omissions were material. The platform is
unsafe and were known by Meta to cause mental and physical health harms, especially in youth,
such as social media addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-
harm, thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death
by suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches,
migraines, loss of vision, eye strain, among other harmful effects.
       218.    DEFENDANTS knew or should have known these representations were false and

negligently made them without regard for their truth.
       219.    Through DEFENDANTS’ incredible power as the premier social media company
(and/or association with that company), they have silenced and suppressed information, research
efforts, and public awareness efforts regarding the harmful heath impact of their platform.
       220.    DEFENDANTS had a duty to accurately provide this information to Plaintiff. In
concealing this information from Plaintiff, DEFENDANTS breached their duty. DEFENDANTS
also gained financially from this concealment, and because of their breach.
       221.    DEFENDANTS intended for Plaintiff to rely on these representations.

       222.    Each of these misrepresentations were material at the time they were made. Each
of the misrepresentations concerned material facts that were essential to the analysis undertaken
by Plaintiff as to whether to sign up for or use Instagram.

       223.    DEFENDANTS have yet to disclose or correct these misrepresentations about
Instagram.
       224.    Plaintiff reasonably relied on these representations and were harmed as described
herein. Plaintiff’s reliance on DEFENDANTS’ representation was a substantial factor in causing
Plaintiff’s harms. Had DEFENDANTS told Plaintiff the truth about the safety and algorithmic
framework of the platform, Plaintiff would not have registered with them or used them.

                                                      55
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 58 of 94




       225.    DEFENDANTS’ acts and omissions as described herein were committed in
reckless disregard of Plaintiff’s rights, interests, and well-being to enrich DEFENDANTS.

       226.    Plaintiff was injured as a direct and proximate result of DEFENDANTS’ negligent
misrepresentations regarding Instagram as described herein. Such harm includes

suicidal ideation; attempted self-harm; self-harm; body dysmorphia; eating disorder including,

anorexia, bulimia, laxatives, diuretics, and excessive exercising, anxiety and depression, among

other harmful effects.

       227.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and
punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.

                                  NINTH CAUSE OF ACTION
                                          FRAUD

       228.    Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.
       229.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.
       230.    At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,
and/or benefited from Instagram and therefore owed a duty of reasonable care to avoid causing
harm to those that used it, such as Plaintiff.
       231.    DEFENDANTS’ marketing, promotions and advertisements contained deceptive
and/or misleading statements, implications, images, and portrayals that the platform was safe,
improved social connectivity, and improved the mental and physical health of its users. In




                                                       56
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 59 of 94




actuality, Instagram pose a serious risk to users’ mental and physical health, which Meta has long
known.

         232.   DEFENDANTS’ marketing, promotions and advertisements failed to disclose that
the platform, by contrast, were likely to cause social media addiction, depression, body

dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating
disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of
focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among

other harms.
         233.   The omissions were misleading and deceptive standing alone and were particularly
deceptive in light of Meta’s marketing, promotions and advertising of Instagram as positive for
users mental and physical health.
         234.   DEFENDANTS represented to Plaintiff—via the media, internet, advertising, its
website, the platform itself, other social media, and promotions—that:
                a. Instagram was safe and were not harmful;

                b. Instagram was positive and beneficial to a users’ wellbeing, improved social

                   connectivity, and improved the mental and physical health of its users;

                c. Long-term, frequent, prolonged use was harmless;

                d. Instagram increased social connectivity, rather than causing feelings of

                   isolation;

                e. An inaccurate and misleading portrayal of the platform mental and physical

                   health impact; and

                f. Other misrepresentations described herein.

         235.   DEFENDANTS omitted/failed to ever inform Plaintiff and other consumers, by
any media, that, according to its own research:




                                                     57
Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 60 of 94




        a. At least five-to-six percent of fourteen-year-olds admit to addiction to the

                platform; and

        b. Sixty-six percent of teen girls and forty-six percent of teen boys have

                experienced negative social comparison on Instagram;

        c. Thirteen-and-one-half percent of teen-girl Instagram users say that platform

                makes thought of suicide and self-injury worse;

        d. Seventeen percent of teen girls Instagram users say the platform makes eating

                issues worse; and

        e. Instagram users ae twice as likely to develop and eating disorder as those who

                don’t use social media.

 236.   Meta also omitted/failed to inform users that, as it knew or should have known:

        a. Engagement-based ranking and intermittent variable rewards are:

           i.      highly addictive,

          ii.      promote harmful social comparison,

         iii.       promote negative, controversial, and/or emotionally activating content,

         iv.       promote negative, harmful, and/or dangerous interest groups and/or

                   content creators,

          v.       encourage bullying and conflict,

         vi.       can trap users in a cycle of viewing content that is innately harmful or in

                   a manner that is harmful, such as content related to eating disorders,

                   depression, or self-harm, and

        vii.       present a false reality (regarding one’s comparative status to their peers,

                   and/or the general state of world or political affairs);

        b. Face tracking and augmentation (image and video filters):


                                                   58
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 61 of 94




                   i. inflict unrealistic and biased beauty standards upon users, and

                   ii. cause harmful social comparison based on a misleading curation of

                      peers’ appearances and success, especially among teenage female users;

               c. The platform causes the mental and physical health harms as listed above;
               d. The likelihood of these harms and likely severity for these harms are even

                   greater for the developing brains of children and adolescents;

               e. The likelihood and intensity of these harmful effects are exacerbated by the

                   collaboration of these features; and

               f. The likelihood and intensity of these harmful effects are increased by other

                   features and innerworkings of the platform which are currently publicly

                   unknown and hidden from users and governments.

       237.    These representations were false and material. These omissions also
communicated falsehoods and were material. The platform is unsafe and were known by Meta to
cause mental and physical health harms, especially in youth, such as social media addiction,
depression, body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm,
insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating
disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision,
eye strain, among other harmful effects.
       238.    The above representations were communicated to Plaintiff.
       239.    Through their incredible power as the premier social media company (and/or
association with that company), DEFENDANTS have silenced and suppressed information,
research efforts, and public awareness efforts regarding the harmful heath impact of their
platform.

       240.    DEFENDANTS’ conduct was fraudulent and deceptive because their
misrepresentations and omissions had the capacity to, were likely to, and, in fact, did deceive



                                                     59
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 62 of 94




reasonable consumers including the Plaintiff. Reasonable consumers, including the Plaintiff,
would have found it material to their purchasing decisions that the platform’s product posed
unreasonable risks of substantial mental and bodily injury, including addiction resulting from the
use of the product. Knowledge of these facts would have been a substantial factor in Plaintiff’s
decisions to purchase and consume Instagram.
       241.    DEFENDANTS owed Plaintiff a duty to disclose these facts because they were
known and/or accessible exclusively to DEFENDANTS, who have had exclusive and superior

knowledge of the facts; because the facts would be material to reasonable consumers; because the
platform poses an unreasonable risk of substantial mental and bodily injury; and because the
platform made partial representations concerning the same subject matter as the omitted facts.
       242.    Plaintiff reasonably and justifiably relied on the misrepresentations and/or
omissions. Reasonable consumers would have been expected to have relied on the platform’s
misrepresentations and omissions.
       243.    DEFENDANTS knew or should have known that its misrepresentations and/or
omissions were false and misleading, and intended for consumers to rely on such
misrepresentations and omissions.

       244.    DEFENDANTS’ misrepresentations and/or omissions were a substantial factor in
causing Plaintiff’s harms. Plaintiff was injured as a direct and proximate result of

DEFENDANTS’ fraudulent conduct as described herein.
       245.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and
punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.

                                 TENTH CAUSE OF ACTION
                               FRAUDULENT CONCEALMENT

       246.    Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.



                                                       60
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 63 of 94




       247.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.

       248.    At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,
and/or benefited from Instagram and therefore owed a duty of reasonable care to avoid causing

harm to those that used it, such as Plaintiff.
       249.    DEFENDANTS had a duty to disclose material facts about Instagram to Plaintiff.
       250.    DEFENDANTS fraudulently and deceptively marketed Instagram to Plaintiff as
safe, healthful, or not harmful, and beneficial to user mental health and social connectedness when
DEFENDANTS knew it to be untrue.
       251.    DEFENDANTS fraudulently and deceptively downplayed or minimized any risk
associated with its platform and product features. DEFENDANTS and others worked together to
pitch news stories or other media content designed to downplay the risks of its platform,
suggesting that any concern was overblown, or a panic. These tactics mimic those used by the
tobacco industry to sow seeds of doubt and confusion among the public, to initiate new users, to
keep customers using Instagram, and to avoid regulation or legislative efforts to control Meta.

       252.    Through their incredible power as the premier social media company (and/or
association with that company), DEFENDANTS have silenced and suppressed information,
research efforts, and public awareness efforts regarding the harmful heath impact of their
platform.
       253.    DEFENDANTS fraudulently and deceptively concealed that Instagram can cause
social media addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm,
thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by
suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches,
migraines, loss of vision, eye strain, among other harms.


                                                      61
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 64 of 94




       254.    DEFENDANTS fraudulently and deceptively concealed they had not adequately
researched or tested the platform and its features to assess its safety before offering it on the
market and promoting it to children and young people and adults.
       255.    DEFENDANTS fraudulently and deceptively concealed that the platform was

powerfully addictive.
       256.    DEFENDANTS further failed to disclose to Plaintiff that the platform is designed
to create and sustain an addiction. DEFENDANTS also manipulated the platform’s algorithms
and features in ways that could and would impact their addictiveness and mental health impact,
and DEFENDANTS did so without notifying Plaintiff. DEFENDANTS actively concealed the
innerworkings of its platform and their mental health impacts.

       257.    DEFENDANTS concealed from Plaintiff that, according to its own research:
               a. At least five-to-six percent of fourteen-year-olds admit to addiction to the
                  platform; and
               b. Sixty-six percent of teen girls and forty-six percent of teen boys have
                  experienced negative social comparisons on Instagram;
               c. Thirteen-and-one-half percent of teen-girl Instagram users say they platform
                  makes thoughts of suicide and self-injury worse;

               d. Seventeen percent of teen-girl Instagram users say the platform makes eating
                  issues worse; and

               e. Instagram users are twice as likely to develop an eating disorder as those who
                  don’t use social media.

       258.    DEFENDANTS also concealed from Plaintiff that:
               a. Engagement-based ranking and intermittent variable rewards are

                  i. highly addictive,
                  ii. promote harmful social comparison,

                  iii. promote negative, controversial, and/or emotionally activating content,
                        promote negative, harmful, and/or dangerous interest groups and/or

                        content creators,


                                                     62
         Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 65 of 94




                    iv. encourage bullying and conflict,

                    v. can trap users in a cycle of viewing content that is innately harmful or in

                         a manner that is harmful, such as content related to eating disorders,

                         depression, or self-harm,

                    vi. present a false reality (regarding one’s comparative status to their peers,

                         and/or the general state of world or political affairs);

                 b. Face tracking and augmentation (image and video filters)

                    k. inflict unrealistic and biased beauty standards upon users,

                   iv.   cause harmful social comparison based on a misleading curation of peers’

                         appearances and success, especially among teenage female users;

                 c. The platform causes the mental and physical health harms as listed above;

                 d. The likelihood of these harms and likely severity for these harms are even
                    greater for the developing brains of children and adolescents;
                 e. The likelihood and intensity of these harmful effects are exacerbated by the
                    interaction of these features; and
                 f. The likelihood and intensity of these harmful effects are increased by other
                    features and innerworkings of the platform which are currently publicly
                    unknown and hidden from users and governments.
          259.   Each of these misrepresentations and omissions were material at the time they
were made. Each of the misrepresentations and omissions concerned material facts that were
essential to the analysis undertaken by Plaintiff as to whether to register or use the platform.
          260.   Plaintiff did not know of the facts that DEFENDANTS concealed.

          261.   DEFENDANTS intended to deceive Plaintiff and the public by concealing these
facts.




                                                         63
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 66 of 94




       262.    DEFENDANTS had a duty to accurately provide this information to Plaintiff. In
concealing this information from Plaintiff, DEFENDANTS breached their duty. DEFENDANTS
also gained financially from this concealment, and because of their breach.
       263.    DEFENDANTS had ample opportunities to disclose these facts to Plaintiff,

through advertising, on its websites, platform, and on other social media. DEFENDANTS
concealed material information at all relevant times, through today. DEFENDANTS have yet to
disclose the truth about Instagram.

       264.    Plaintiff relied to her detriment on DEFENDANTS’ fraudulent omissions. Had
Plaintiff been adequately informed of the material facts concealed from her regarding the safety
of the platforms, and not intentionally deceived by DEFENDANTS, she would not have signed
up for or used Instagram.
       265.    DEFENDANTS’ fraudulent concealment was a substantial factor in Plaintiff’s
harms as described herein, including: suicidal ideation; attempted self-harm; self-harm; body
dysmorphia; eating disorder including, anorexia, bulimia, laxatives, diuretics, and excessive
exercising, anxiety and depression, among other harmful effects, which may cause or contribute
to additional disease.

       266.    Plaintiff was injured as a direct and proximate result of DEFENDANTS’
fraudulent conduct as described herein.

       267.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and
punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.
                              ELEVENTH CAUSE OF ACTION
                             CONSPIRACY TO COMMIT FRAUD

       268.    Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.




                                                       64
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 67 of 94




        269.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff's
resident State. Plaintiff pleads this Cause of Action under all applicable product liability and
conspiracy, statutes, and the common law of Plaintiff's respective State.

        270.    DEFENDANTS entered into an agreement to advance their financial interests by
injuring Plaintiff. Specifically, DEFENDANTS worked in concert to maintain and maximize the
number of users addicted to Instagram to ensure a steady and growing customer base.

        271.    DEFENDANTS sought to accomplish this objective by: (1) designing a product
that was intended to addict its users to dopamine-triggering stimuli on its electronic platform
(similar to electronic gambling platforms); (2) marketing, advertising, promoting and
misbranding that platform to consumers, including the vulnerable youth market; and (3)
defrauding regulators and the public to advance their interests.

        272.    Plaintiff’s addiction to the platform was a primary object of the Conspiracy.
DEFENDANTS orchestrated efforts with a unity of purpose to addict this generation of teenagers
and young adults to its platform by way of unlawful conduct in marketing, promoting,
manufacturing, designing, and disseminating Instagram that substantially contributed to the
Plaintiff’s injuries as alleged herein.
        273.    DEFENDANTS further conspired with one another by setting out to entice and

lure new users of the platform as a wrongful, unlawful, and tortious means to make a profit.
        274.    Plaintiff demands the applicable relief set forth in the Prayer for Relief below.
        275.    DEFENDANTS’ conspiracy involved:

                a. Developing a social media platform to be as addictive as possible, regardless of
                    mental and physical health impacts;
                b. Suppressing internal and external efforts to research the harmful effects of this
                    platform;
                c. Suppressing internal and external efforts to inform consumers of the harmful
                    effects of this platform;


                                                      65
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 68 of 94




               d. Making knowingly false and misleading representations and omissions to

                   government organizations, personnel, legislators, and regulators, including at

                   congressional hearings; and

               e. Engaging in lobbying efforts and political donations to discourage office
                   holders from performing oversight of its platform.
       276.    DEFENDANTS’ conduct violated state law and constituted a conspiracy to harm
Plaintiff. Plaintiff brings a cause of action for conspiracy to commit fraud under applicable state
statutory and common law.
       277.    DEFENDANTS’ conspiracy to commit fraud was a substantial factor in causing
Plaintiff’s harms. Plaintiff was injured, as described herein, as a direct and proximate result of
DEFENDANTS’ unlawful conspiracy as described herein.
       278.    Plaintiff demands judgment against Defendants for compensatory, treble, and
punitive damages, together with interest, costs of suit, attorneys' fees, and all such other relief as
the Court deems proper.

                                TWELFTH CAUSE OF ACTION
                                  UNJUST ENRICHMENT

       279.    Plaintiff incorporates by reference each preceding and succeeding paragraph as
although set forth fully at length herein.
       280.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.
       281.    At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,
and/or benefited from Instagram and therefore owed a duty of reasonable care to avoid causing
harm to those that used it, such as Plaintiff.
       282.    DEFENDANTS concealed from Plaintiff that, according to its own research:



                                                       66
Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 69 of 94




        a. At least five-to-six percent of fourteen-year-olds admit to addiction to the

           platform; and

        b. Sixty-six percent of teen girls and forty-six percent of teen boys have

           experienced negative social comparisons of Instagram;

        c. Thirteen-and-one-half percent of teen-girl Instagram users say the platform

           makes thoughts of suicide and self-injury worse;

        d. Seventeen percent of teen-girl Instagram users say that platform makes eating

           issues worse; and

        e. Instagram users are twice as likely to develop an eating disorder as those who

           don’t use social media.

 283.   DEFENDANTS also concealed from Plaintiff that:
        a. Engagement-based ranking and intermittent variable rewards are:

            i. highly addictive,

           ii. promote harmful social comparison,

          iii. promote negative, controversial, and/or emotionally activating content,

           iv. promote negative, harmful, and/or dangerous interest groups and/or

               content creators,

           v. encourage bullying and conflict,

           vi. can trap users in a cycle of viewing content that is innately harmful or in a

               manner that is harmful, such as content related to eating disorders,

               depression, or self-harm, and

          vii. present a false reality (regarding one’s comparative status to their peers,

               and/or the general state of world or political affairs);

        b. Face tracking and augmentation (image and video filters):


                                               67
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 70 of 94




                    i. inflict unrealistic and biased beauty standards upon users, and

                    ii. cause harmful social comparison based on a misleading curation of

                       peers’ appearances and success, especially among teenage female users;

               c. The platform causes the mental and physical health harms as listed above;

               d. The likelihood of these harms and likely severity for these harms are even

                   greater for the developing brains of children and adolescents;

               e. The likelihood and intensity of these harmful effects are exacerbated by the

                   collaboration of these features; and

               f. The likelihood and intensity of these harmful effects are increased by other

                   features and innerworkings of the platform which are currently publicly

                   unknown and hidden from users and governments.

       284.    DEFENDANTS received a measurable benefit at the expense of Plaintiff in the
form of ad revenue and other revenue derived from consumers use of Instagram.

       285.    DEFENDANTS appreciated, recognized, and chose to accept the monetary
benefits Plaintiff’s registration and use of the platform conferred onto DEFENDANTS at the
Plaintiff’s detriment. These benefits were the expected result of DEFENDANTS acting in their

pecuniary interests at the expense of its users.
       286.    The harm causing features listed above were the same platform components that
increased Meta’s revenue—addiction and overuse of the platform directly creates increased ad
revenue for the company. The benefit to Meta came directly at the expense of the Plaintiff’s time,
mental wellness, and physical health.

       287.    There is no justification for DEFENDANTS’ enrichment. It would be inequitable,
unconscionable, and unjust for DEFENDANTS to be permitted to retain these benefits because
the benefits were procured because of their wrongful conduct.




                                                     68
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 71 of 94




        288.    DEFENDANTS wrongfully obfuscated the harm caused by their conduct. Thus,
Plaintiff, who mistakenly enriched DEFENDANTS by relying on DEFENDANTS’ fraudulent
representations, could not and did not know the effect that using Instagram would have on
Plaintiff’s health.

        289.    Plaintiff is entitled to restitution of the benefits DEFENDANTS unjustly retained
and/or any amounts necessary to return Plaintiff to the position she occupied prior to dealing with
DEFENDANTS. Due to the sprawling, decades-long concern about the impacts of technology

and the internet on mental and physical health, and litigation commonly following injuries
afflicted using the internet, and other notice they have received because of lawsuits filed against
them, DEFENDANTS are reasonably notified that Plaintiff would expect compensation from
DEFENDANTS’ unjust enrichment stemming from their wrongful actions.
        290.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and
punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.
                   THIRTEENTH CAUSE OF ACTION
 VIOLATION OF UNFAIR TRADE PRACTICES/CONSUMER PROTECTION LAWS

        291.    Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.

        292.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective States.
        293.    At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,
and/or benefited from Instagram and therefore owed a duty of reasonable care to avoid causing
harm to those that used it, such as Plaintiff.



                                                       69
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 72 of 94




          294.   Plaintiff herein brings a cause of action for consumer fraud and/or unfair and
deceptive trade practices and/or unfair business practices under applicable state law.

          295.   DEFENDANTS are on notice that such claims may be asserted by Plaintiff.
          296.   Plaintiff registered for and used INSTAGRAM and suffered injuries because of
DEFENDANTS’ actions in violation of these consumer protection laws.

          297.   Had DEFENDANTS not engaged in the deceptive conduct described herein,
Plaintiff would not have registered for or used INSTAGRAM resulting in the injuries as alleged
herein.

          298.   Fraudulent, unfair, and/or deceptive practices that violate consumer protection
laws include, but are not limited to, the following:
                 a. Representing that goods or services have approval, characteristics, uses, or

                    benefits that they do not have;

                 b. Advertising goods or service with the intent not to sell them as advertised;

                 c. Engaging in fraudulent or deceptive conduct that creates a likelihood of

                    confusion;

                 d. Engaging in fraudulent or deceptive conduct that causes actual confusion or

                    misunderstanding as to the approval of certain goods; and

                 e. Many other fraudulent, unfair, and/or deceptive as stated elsewhere in this

                    complaint.

          299.   Plaintiff was injured by DEFENDANTS’ unlawful conduct, which was furthered
through a pervasive pattern of false and misleading statements and omissions by targeting
children and adolescents and portraying Instagram as harmless and beneficial, while
misrepresenting or omitting concerns about their mental and physical health impact,
addictiveness, and safety.
          300.   DEFENDANTS have a statutory duty to refrain from fraudulent, unfair, and
deceptive acts or trade practices in the design, development, manufacture, promotion, and sale of


                                                       70
        Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 73 of 94




their   product.   DEFENDANTS’            deceptive,    unconscionable,    unfair    and/or   fraudulent
representations and material omissions to Plaintiff constituted consumer fraud and/or unfair and
deceptive acts and trade practices in violation of consumer protection statutes, including, but not
limited to, the GA. CODE ANN. § 10-1-370 et seq. (Uniform Deceptive Trade Practices Act);
and GA. CODE ANN. § 10-1-390 et seq. (Fair Business Practices Act of 1975).
         301.   Under these and other consumer protection statutes, DEFENDANTS are the
suppliers, distributors, programmers, manufacturers (developers), advertisers, marketers,

promoters and sellers (disseminators) of Instagram, who are subject to liability under such
legislation for fraudulent, unfair, deceptive, and unconscionable consumer practices. The actions
and omissions of DEFENDANTS are uncured or incurable and DEFENDANTS were aware of
the same well in advance of this filing and failed to take any action to cure their actions or
omissions.

         302.   Plaintiff   justifiably    relied      to   their   detriment   on    DEFENDANTS’
misrepresentations and omissions in deciding to use Instagram.
         303.   By reason of the fraudulent and unlawful acts engaged in by DEFENDANTS, and
as a direct and proximate result thereof, Plaintiff has sustained economic losses and other damages
and are entitled to statutory and compensatory damages in an amount to be proven at trial.
         304.   Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and

punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.
                             FOURTEENTH CAUSE OF ACTION
                             BREACH OF EXPRESS WARRANTY

         305.   Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.
         306.   Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s



                                                            71
       Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 74 of 94




resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.

        307.   At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,

and/or benefited from Instagram and therefore owed a duty of reasonable care to avoid causing
harm to those that used it, such as Plaintiff.
        308.   DEFENDANTS violated state law for breach of express warranties and Plaintiff
herein will bring a cause of action for breach of express warranty under applicable State common
law.
        309.   Upon information and belief, DEFENDANTS expressly warranted through public
statements, press releases, advertisements, marketing materials, sign-up notices, clickwrap
(and/or browsewrap or scrollwrap), and descriptions that the platform Instagram was safe for their
intended use and that it was safe for youth to use.
        310.   Upon information and belief, DEFENDANTS expressly warranted to consumers,
like Plaintiff, through written or electronic statements, descriptions, and affirmations of fact on
its websites, advertising, and marketing materials that Instagram would improve users’ mental
health, sense of community, and emotional connectedness with others.
        311.   These affirmations of fact became the basis of the bargain between

DEFENDANTS and Plaintiff, thereby creating express warranties that Instagram would conform
to Meta’s affirmations of fact, representations, promises, and descriptions.
        312.   As described herein, the platform actually uses features that cause social media
addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-
harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by
eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of
vision, eye strain, among other harms, which may cause or contribute to additional disease.
        313.   These express communications contained misrepresentations and failed to warn of
the serious and known risks of Instagram as alleged herein.


                                                      72
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 75 of 94




       314.    When DEFENDANTS made these express warranties, they knew the intended
purposes of Instagram and warranted the product to be, in all respects, safe and proper for such
purposes.
       315.    DEFENDANTS authored the documents and/or made the statements upon which

these warranty claims were based and, in doing so, defined the terms of those warranties. The
Instagram platform made available by DEFENDANTS did not conform to DEFENDANTS’
promises, descriptions or affirmations and were not adequately designed, developed, tested,

promoted and/or fit for the ordinary purposes for which they were intended.
       316.    All of the aforementioned written or electronic materials are known to
DEFENDANTS and in their possession, and it is Plaintiff’s belief that these materials shall be
produced by DEFENDANTS and made part of the record once discovery is completed.
       317.    DEFENDANTS’ breach of these express warranties were a substantial factor in
causing Plaintiff’s harms.
       318.    As a direct and proximate result of DEFENDANTS’ breach of these warranties,
Plaintiff suffered serious injuries and/or sequelae thereto as alleged herein.
       319.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and
punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,

costs of suit, attorneys' fees, and all such other relief as the Court deems proper.
                        FIFTEENTH CAUSE OF ACTION
            BREACH OF AN IMPLIED WARRANTY OF MERCHANTABILITY

       320.    Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.
       321.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.



                                                       73
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 76 of 94




          322.   At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,
and/or benefited from Instagram and therefore owed a duty of reasonable care to avoid causing
harm to those that used it, such as Plaintiff.

          323.   DEFENDANTS at all times were merchants with respect to the Instagram platform
provided to Plaintiff and were in the business of programming, developing, disseminating, and
operating such a product.

          324.   Each platform Meta provided comes with an implied warranty that it will be
merchantable and fit for the ordinary purpose for which it would be used.
          325.   The ordinary intended purposes of the platform—and the purpose for which they
are marketed, promoted, and made available—is to serve as safe social media platform and allow
users to connect with friends, create new and palatable association with strangers, and groups
online.
          326.   The platform is not fit for that use—or any other use—because they pose
significant risks of substantial mental and physical injury resulting from the use of the product.
When used as intended or reasonably foreseeable, Instagram adversely impact, worsen, or
aggravate users’ mental health.
          327.   Due to these and other features, the platform is not fit for their ordinary, intended

use and Instagram are in fact defective and fail to conform to the platform’s implied warranties.
          328.   DEFENDANTS have unlawfully breached the platform’s implied warranty of
merchantability because Instagram were not in merchantable condition when made available,
were defective when made available, and do not possess even the most basic degree of fitness for
ordinary use.
          329.   Despite having received notice of these defects, DEFENDANTS continue to
misrepresent the nature of its product and breach its implied warranties.




                                                        74
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 77 of 94




       330.    Plaintiff has had sufficient direct dealings with DEFENDANTS via its website,
apps, platform, or through retailers acting as agents authorized to distribute Instagram (Apple/the
“App Store”) to establish privity.
       331.    Further, Plaintiff was a third-party beneficiary of the platform’s agreements with

other entities for the distribution of Instagram to consumers. Specifically, Plaintiff is the intended
beneficiary of the platform’s implied warranties. The platform’s product is manufactured with the
express purpose and intent of being made accessible to consumers.

       332.    Plaintiff would not have used Instagram or would not have registered or used on
the same terms, had she known the facts these Defendants failed to disclose.
       333.    DEFENDANTS’ breach of these warranties were a substantial factor in causing
Plaintiff’s harms.
       334.    Plaintiff was injured as a direct and proximate result of DEFENDANTS’ breach
of implied warranties of merchantability. Plaintiff has been harmed by DEFENDANTS’ failure
to deliver a merchantable product in the form of addiction and other negative health consequences.
       335.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and
punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.

                             SIXTEENTH CAUSE OF ACTION
                          FITNESS FOR A PARTICULAR PURPOSE

       336.    Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.
       337.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.




                                                       75
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 78 of 94




       338.    At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,
and/or benefited from Instagram and therefore owed a duty of reasonable care to avoid causing
harm to those that used it, such as Plaintiff.

       339.    DEFENDANTS violated state law for breach of implied warranties and Plaintiff
herein will bring a cause of action for breach of implied warranty of fitness for a particular purpose
under applicable State common law.

       340.    Plaintiff intended to use Instagram as safe social media platform and to improve
Plaintiff’s mental health, sense of community, and emotional connectedness with others.
       341.    DEFENDANTS knew at that time of account registration, and/or had reason to
know, the particular purpose for which the product was required by Plaintiff, as evidenced by
DEFENDANTS’ written and/or electronic statements, descriptions, and affirmations of fact on
its websites, print or electronic advertising, marketing materials, sign-up notices, and clickwrap
(and/or browsewrap or scrollwrap) that Instagram would improve users’ mental health, sense of
community, and emotional connectedness with others.

       342.    DEFENDANTS knew at that time of account registration, and/or had reason to
know, that Plaintiff was relying on DEFENDANTS’ skill or judgment to select or furnish suitable
social media platform.

       343.    DEFENDANTS did not effectively exclude or modify this implied warranty at any
point during users’ registration and interface with the platform.
       344.    As described herein, DEFENDANTS breached this implied warranty because the
platform uses features that cause social media addiction, depression, body dysmorphia, anxiety,
suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating disorder, anorexia nervosa,
bulimia nervosa, death by suicide, death by eating disorder, lack of focus, ADHD, difficulty
sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among other harms, which may
cause or contribute to additional disease.




                                                       76
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 79 of 94




       345.    DEFENDANTS knew the Plaintiff’s intended purposes for Instagram and
impliedly warranted the product to be, in all respects, safe and proper for such purposes.

       346.    DEFENDANTS authored the documents and/or made the statements upon which
these warranty claims were based and, in doing so, defined the terms of those warranties. The

Instagram made available by DEFENDANTS did not conform to DEFENDANTS’ promises,
descriptions or affirmations and were not adequately designed, developed, tested, promoted
and/or fit for the particular purposes for which they were intended.

       347.    All of the aforementioned written or electronic materials are known to
DEFENDANTS and in their possession, and it is Plaintiff’s belief that these materials shall be
produced by DEFENDANTS and made part of the record once discovery is completed.

       348.    DEFENDANTS’ breach of these implied warranties were a substantial factor in
causing Plaintiff’s harms.
       349.    As a direct and proximate result of DEFENDANTS’ breach of these warranties,
Plaintiff suffered serious injuries and/or sequelae thereto as alleged herein.
       350.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and
punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.

                        SEVENTEENTH CAUSE OF ACTION
                INTENTIONAL INFLICTION OF EMOTIONAL DISTRESS

       351.    Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.
       352.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.




                                                       77
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 80 of 94




          353.   At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,
and/or benefited from Instagram and therefore owed a duty of reasonable care to avoid causing
harm to those that used it, such as Plaintiff.

          354.   DEFENDANTS knew, or should have known through the exercise of reasonable
care, the risks to consumers posed by the platform and its features.
          355.   DEFENDANTS knew or should have known through the exercise of reasonable
care, that children, adolescents and children and young people would be attracted to this product.

          356.   DEFENDANTS knew or, by the exercise of reasonable care, should have known
use of Instagram was harmful and had the potential to cause severe emotional distress when used
by Plaintiff in a reasonably foreseeable manner, particularly with children, adolescents and young
adults.
          357.   DEFENDANTS knew or, by the exercise of reasonable care, should have known
ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of
Instagram. Instagram is fine-tuned to addict users, and forcefully cause physical and mental health
harms.
          358.   DEFENDANTS knew or, by the exercise of reasonable care, should have known
that Instagram posed risks including the risks of social media addiction, depression, body

dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating
disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of
focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among
other harmful effects, as described herein, that were known and knowable in light of scientific
and medical knowledge that was generally accepted in the scientific community at the time of
development, dissemination, public release, and operation of the platform.
          359.   DEFENDANTS knew or should have known that Instagram needed to be
researched, designed, manufactured, coded, assembled, inspected, tested, marketed, advertised,




                                                     78
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 81 of 94




promoted, supplied, disseminated, and/or made available properly, without defects and with due
care to avoid needlessly causing harm.

        360.    DEFENDANTS knew or should have known that Instagram could cause serious
harm, including severe emotional distress, particularly to young persons, children and

adolescents.
        361.    DEFENDANTS knew or should have known that many of the youth who were
encouraged to use the platform had preexisting mental health issues and/or eating disorders who
were at enhanced risk of harm by utilizing the misleadingly described platform, which
misrepresented the mental health effects of the platform and failed to warn of the product’s
features’ impacts and risks.

        362.    DEFENDANTS were negligent, reckless, and careless and failed to take the care
and duty owed to Plaintiff, thereby causing Plaintiff to suffer harm, including severe emotional
distress.
        363.    DEFENDANTS’ acts and omissions were extreme and outrageous because they
constitute a total lack of care, recklessness, and an extreme departure from what a reasonably
careful company would do in the same situation to prevent foreseeable harm and severe emotional
distress to Plaintiff.
        364.    DEFENDANTS acted with conscious and reckless disregard for the rights and

interests of Plaintiff, and their acts and omissions were extreme and outrageous, had a great
probability of causing severe emotional distress, and in fact resulted in such harm to Plaintiff.
        365.    Based on their strategic and intentional promotion, advertising and marketing
history, DEFENDANTS reasonably should have foreseen that children and young people would
try Instagram and quickly become addicted to Instagram, resulting in teenagers and young adults
developing lifelong addictions. DEFENDANTS were aware of the risks their platform posed, as
listed herein. After fine-tuning the platform to be addictive, attention-grabbing, and attention-
holding, DEFENDANTS reasonably should have foreseen the emotional distress, mental, and
physical issues this would cause on the individuals who would get addicted, as well the stress this


                                                      79
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 82 of 94




would place on their loved ones around them. Particularly, DEFENDANTS should have foreseen
that children and young people would be particularly susceptible to experiencing severe emotional
distress.
        366.   Plaintiff was injured as a direct and proximate result of the reckless, extreme, and

outrageous conduct as described herein. Such harm includes suicidal ideation; attempted self-
harm; self-harm; body dysmorphia; eating disorder including, anorexia, bulimia, laxatives,
diuretics, and excessive exercising, anxiety and depression, among other harmful effects, which

may cause or contribute to additional disease.
        367.   DEFENDANTS’ conduct, as described above, was intentional, reckless, wanton,
malicious, fraudulent, oppressive, extreme, and outrageous, and displayed an entire lack of care
and a conscious and depraved indifference to the consequences of their conduct—including to the
health, safety, and welfare of their consumers—and warrants an award of punitive damages.

        368.   Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and
punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.

                        EIGHTEENTH CAUSE OF ACTION
                 NEGLIGENT INFLICTION OF EMOTIONAL DISTRESS

        369.   Plaintiff incorporates by reference each preceding and succeeding paragraph as

though set forth fully at length herein.
        370.   Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.
        371.   At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,




                                                       80
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 83 of 94




and/or benefited from Instagram and therefore owed a duty of reasonable care to avoid causing
harm to those that used it, such as Plaintiff.

          372.   DEFENDANTS knew or should have known through the exercise of reasonable
care, the risks to consumers posed by the platform and its features.

          373.   DEFENDANTS knew or should have known through the exercise of reasonable
care, that children, adolescents and children and young people would be attracted to this product.
          374.   DEFENDANTS knew or, by the exercise of reasonable care, should have known
use of Instagram was harmful and had the potential to cause severe emotional distress when used

by Plaintiff in a reasonably foreseeable manner, particularly with children, adolescents and young
adults.

          375.   DEFENDANTS knew or, by the exercise of reasonable care, should have known
ordinary consumers such as Plaintiff would not have realized the potential risks and dangers of
Instagram. Instagram is fine-tuned to addict users, and forcefully cause physical and mental health
harms.
          376.   DEFENDANTS knew or, by the exercise of reasonable care, should have known
that Instagram posed risks including the risks of social media addiction, depression, body
dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating
disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of

focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among
other harmful effects, as described herein, that were known and knowable in light of scientific
and medical knowledge that was generally accepted in the scientific community at the time of
development, dissemination, public release, and operation of the platform.
          377.   DEFENDANTS knew or should have known that Instagram needed to be
researched, designed, manufactured, coded, assembled, inspected, tested, marketed, advertised,
promoted, supplied, disseminated, and/or made available properly, without defects and with due
care to avoid needlessly causing harm.




                                                     81
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 84 of 94




        378.    DEFENDANTS knew or should have known that Instagram could cause serious
risk of harm, including severe emotional distress, particularly to young persons, children and
adolescents.
        379.    DEFENDANTS knew or should have known that many of the youth who were

encouraged to use the platform had preexisting mental health issues and/or eating disorders who
were at enhanced risk of harm by utilizing the misleadingly described platform, which
misrepresented the mental health effects of the platform and failed to warn of the product’s

features’ impacts and risks.
        380.    DEFENDANTS were negligent, reckless, and careless and failed to take the care
and duty owed to Plaintiff, thereby causing Plaintiff to suffer harm, including severe emotional
distress.
        381.    DEFENDANTS’ acts and omissions were extreme and outrageous because they
constitute a total lack of care, recklessness, and an extreme departure from what a reasonably
careful company would do in the same situation to prevent foreseeable harm and severe emotional
distress to Plaintiff.

        382.    DEFENDANTS acted with conscious and reckless disregard for the rights and
interests of Plaintiff, and their acts and omissions were extreme and outrageous had a great
probability of causing severe emotional distress and in fact resulted in such harm to Plaintiff.

        383.    Based on their strategic and intentional promotion, advertising and marketing
history, DEFENDANTS reasonably should have foreseen that children and young people would
try Instagram and quickly become addicted to Instagram, resulting in teenagers and young adults
developing lifelong addictions. DEFENDANTS were aware of the risks their platform posed, as
listed herein. After fine-tuning the platform to be addictive, attention grabbing, and attention-
holding, DEFENDANTS reasonably should have foreseen the emotional distress, mental, and
physical issues this would cause on the individuals who would get addicted, as well the stress this
would place on their loved ones around them. Particularly, DEFENDANTS should have foreseen




                                                      82
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 85 of 94




that children and young people would be particularly susceptible to experiencing severe emotional
distress.

        384.   Plaintiff was injured as a direct and proximate result of the negligent, reckless,
extreme, and outrageous conduct as described herein. Such harm includes suicidal ideation;

attempted self-harm; self-harm; body dysmorphia; eating disorder including, anorexia, bulimia,
laxatives, diuretics, and excessive exercising, anxiety and depression, among other harmful
effects, which may cause or contribute to additional disease.

        385.   Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and
punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.


                           NINETEENTH CAUSE OF ACTION
                      NEGLIGENT FAILURE TO RECALL/RETROFIT

        386.   Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.
        387.   Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s
resident State. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s respective State.

        388.   At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,
and/or benefited from Instagram and therefore owed a duty of reasonable care to avoid causing
harm to those that used it, such as Plaintiff.
        389.   DEFENDANTS knew or should have known through the exercise of reasonable
care, the risks to consumers posed by the platform and its features.

        390.   DEFENDANTS knew or should have known through the exercise of reasonable
care, that children, adolescents and children and young people would be attracted to this product.

                                                       83
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 86 of 94




        391.    DEFENDANTS knew or, by the exercise of reasonable care, should have known
use of Instagram was harmful and had the potential to cause social media addiction, depression,
body dysmorphia, anxiety, suicidal ideation, self-harm, thoughts of self-harm, insomnia, eating
disorder, anorexia nervosa, bulimia nervosa, death by suicide, death by eating disorder, lack of
focus, ADHD, difficulty sleeping, fatigue, headaches, migraines, loss of vision, eye strain, among
other harmful effects, which may cause or contribute to additional disease.
        392.    Defendants owed a duty to the users of the Instagram, including Plaintiff, to

exercise reasonable care in conducting their business to properly and reasonably design, research,
develop, manufacture, produce, process, assemble, inspect, supply, distribute, deliver, broker,
market, warn, maintain, repair, modify, recall, retrofit, engineer, test, recommend, advertise,
and/or make available Instagram.
        393.    Defendants also owed a continuing duty to Plaintiff to remove, recall, or retrofit
the unsafe and/or defective platform across the United States (including in Plaintiff’s state).
        394.    As discussed, Defendants knew or reasonably should have known that the platform
was dangerous and not safe for use (without added protective measures and/or removal of harm
causing features, if at all).

        395.    Defendants knew or, in the exercise of reasonable and ordinary care, should have
known that the platform was defective and unsafe for Plaintiff, who is a person likely to use the

platform for the purpose and in the manner for which the platform was intended to be used and
for purposes reasonably foreseeable to Defendants.

        396.    However, at all times, Defendants negligently breached said duties and
unreasonably and negligently allowed the platform to be used by Plaintiff without proper recall
or retrofit or warning.

        397.    Defendants have also not made any reasonable effort to remove and/or retrofit the
serious safety risk posed by the platform to consumers.
        398.    In failing to properly recall and/or retrofit Instagram, or even warn of the serious
safety risks the platform poses to consumers and the public, Defendants have failed to act as a


                                                      84
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 87 of 94




reasonable manufacturer, designer, or distributer would under the same or similar circumstances
and failed to exercise reasonable care.

        399.    Plaintiff was injured as a direct and proximate result of the negligent conduct as
described herein. Such harm includes suicidal ideation; attempted self-harm; self-harm; body

dysmorphia; eating disorder including, anorexia, bulimia, laxatives, diuretics, and excessive
exercising, anxiety and depression, among other harmful effects, which may cause or contribute
to additional disease.

        400.    Plaintiff demands judgment against DEFENDANTS for compensatory, treble, and
punitive damages, medical monitoring to diagnose the platform induced injuries at an earlier date
to allow for timely treatment and prevention of exacerbation of injuries, together with interest,
costs of suit, attorneys' fees, and all such other relief as the Court deems proper.
                               TWENTIETH CAUSE OF ACTION
                                 MEDICAL MONITORING

        401.    Plaintiff incorporates by reference each preceding and succeeding paragraph as
though set forth fully at length herein.
        402.    Plaintiff pleads all Causes of Action of this Complaint in the broadest sense,
pursuant to all laws that may apply under choice-of-law principles, including the law of Plaintiff’s

resident state. Plaintiff pleads this Cause of Action under all applicable product liability acts,
statutes, and laws of Plaintiff’s resident state.

        403.    At all relevant times, DEFENDANTS designed, developed, managed, operated,
inspected, tested (or not), marketed, advertised, promoted, disseminated, made publicly available,
and/or benefited from Instagram and therefore owed a duty of reasonable care to avoid causing
harm to those that used it, such as Plaintiff.
        404.    Instagram cause or exacerbate mental and physical health harms, including, but
not limited to, suicidal ideation; attempted self-harm; self-harm; body dysmorphia; eating
disorder including, anorexia, bulimia, laxatives, diuretics, and excessive exercising, anxiety and
depression, among other harmful effects, which may cause or contribute to additional disease.



                                                       85
Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 88 of 94




 405.   DEFENDANTS concealed from Plaintiff that, according to its own research:
        a. At least five-to-six percent of fourteen-year-olds admit to addiction to the

           platform; and

        b. Sixty-six percent of teen girls and forty-six percent of teen boys have

           experienced negative social comparisons on Instagram

        c. Thirteen-and-one-half percent of teen-girl Instagram users say the platform

           makes thoughts of suicide and self-injury worse;

        d. Seventeen percent of teen-girl Instagram users say the platform makes eating

           issues worse;

        e. Instagram users are twice as likely to develop an eating disorder as those who

           don’t use social media.

 406.   Instagram cause harm by the following product effects:
        a. Engagement-based ranking and intermittent variable rewards are:

           i. highly addictive,

           ii. promote harmful social comparison,

           iii. promote negative, controversial, and/or emotionally activating content,

           iv. promote negative, harmful, and/or dangerous interest groups and/or

               content creators,

           v. encourage bullying and conflict,

           vi. can trap users in a cycle of viewing content that is innately harmful or in a

               manner that is harmful, such as content related to eating disorders,

               depression, or self-harm, and

           vii. present a false reality (regarding one’s comparative status to their peers,

               and/or the general state of world or political affairs);


                                               86
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 89 of 94




               b. Face tracking and augmentation (image and video filters):

                    i. inflict unrealistic and biased beauty standards upon users, and

                   ii. cause harmful social comparison based on a misleading curation of

                       peers’ appearances and success, especially among teenage female users;

               c. The platform causes the mental and physical health harms as listed above;

               d. The likelihood of these harms and likely severity for these harms are even

                   greater for the developing brains of children and adolescents;

               e. The likelihood and intensity of these harmful effects are exacerbated by the

                   collaboration of these features; and

               f. The likelihood and intensity of these harmful effects are increased by other

                   features and innerworkings of the platform which are currently publicly

                   unknown and hidden from users and governments.

       407.    Engagement-based ranking and intermittent variable rewards are highly addictive,
promote harmful social comparison, encourage bullying and conflict, can trap users in a cycle of
viewing content that is innately harmful or in a manner that is harmful, and present a false reality.
Image and video filters inflict unrealistic and biased beauty standards upon users and cause
harmful social comparison based on a misleading curation of peers’ appearances, especially
among teenage female users.
       408.    The collaboration of these features multiplies the platform’s power to inflict harm
by heightening the platform’s addictive nature, increasing exposure to content that triggers
negative social comparison, exposing users to innately harmful content, increasing time of
exposure to harm, further encouraging bullying, and promoting conflict, and multiplying harm in
other ways.
       409.    The features combine to create a user interface of endless, auto-playing, image and
video content, that is algorithmically sorted to place the most attention-grabbing content at the



                                                      87
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 90 of 94




top and/or in a distilled feed that is very difficult to cease consuming, especially for young users.
Content that is promoted by the algorithm is often related to beauty, success/wealth flaunting, or
lifestyles, which causes negative physical or social comparison, especially among teens. Meta’s
algorithms also promote controversial, disturbing, negative, and/or emotionally charged content
causing harm to users.
       410.    The combined result of these features is to present to users a false reality—it
presents to users a world which is constantly controversial and negative; where most other people

are exceedingly more attractive than the user; where most other people are exceedingly more
successful and/or competent than the user; and which will facilitate and encourage harmful
behaviors such as self-harm and eating disorders.
       411.    These features take advantage of biological systems, human behavior, and
psychology, to addict and condition users to engage in repetitive content-consuming actions such
as scrolling, “liking,” and sharing content in search of repeated dopamine releases. All the while,
the users’ input and behavior are tracked to allow the platform to automatically tune itself to each
individual user to become as addictive and difficult to stop engaging with as possible.
       412.    Potential health harms from these features include, among other types of harm,
social media addiction, depression, body dysmorphia, anxiety, suicidal ideation, self-harm,
thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa, death by
suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue, headaches,
migraines, loss of vision, eye strain, among other harmful effects.

       413.    As a direct and proximate result of DEFENDANTS’ conduct, Plaintiff has
developed mental and physical health issues that will require life-long monitoring treatment.
       414.    As a direct and proximate result of DEFENDANTS’ conduct, Plaintiff has a
significantly increased risk of developing a serious latent disease and/or injury, suffering further
injury at an unknown date in the future. Such injuries include the development and/or
exacerbation of social media addiction, depression, body dysmorphia, anxiety, suicidal ideation,
self-harm, thoughts of self-harm, insomnia, eating disorder, anorexia nervosa, bulimia nervosa,


                                                      88
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 91 of 94




death by suicide, death by eating disorder, lack of focus, ADHD, difficulty sleeping, fatigue,
headaches, migraines, loss of vision, eye strain, among other harmful effects.

        415.    Monitoring procedures exist that makes the early detection and prevention of the
above technology-related and/or induced diseases and mental health issues possible. Many of the

above physical and mental issues can lead to other physical and mental health injuries long-term
that can be detected and prevented by existing medical and psychological testing and treatment.
        416.    For example, eating disorders can cause hormone/growth problems, heart
problems, neurological problems, abnormal cell growth, and cancer. Anxiety can lead to social
impairment, relationships, suicide risk, more frequent hospitalizations, substances abuse
(prescribed and non-prescribed), unemployment, somatoform. Nearly all the other kinds of harms
listed above commonly lead to other health issues.
        417.    These procedures are different from that normally recommended in the absence of
the exposure. These monitoring procedures include non-routine surveillance studies, laboratory
testing, and physical examinations, and would be reasonably necessary according to
contemporary scientific principles.

        418.    Plaintiff has suffered physical, mental, and emotional harms. Suicidal ideation;
attempted self-harm; self-harm; body dysmorphia; eating disorder including, anorexia, bulimia,
laxatives, diuretics, and excessive exercising, anxiety and depression (and many of the other

harms listed above) are well-known to cause long-lasting conditions, hidden conditions, and
health problems that do not manifest fully until much later in life. Existing medical research
indicates that these issues can cause permanent digestive tract injury, brain injury, cardiovascular
disorders, and many other harms. The injuries such product cause on the human body has already
been inflicted in its users, such as Plaintiff, but the full extent of the injury will not manifest until
later in Plaintiff’s life. Thus, because of DEFENDANTS’ conduct, it is reasonably necessary that
Plaintiff be placed under periodic screening and/or diagnostic testing beyond that normally
recommended in the absence of the issues Plaintiff has suffered due to use of this platform.




                                                         89
      Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 92 of 94




          419.   Plaintiff demand judgment against DEFENDANTS for medical monitoring
damages to diagnose the platform induced injuries at an earlier date to allow for timely treatment
and prevention of exacerbation of injuries, together with interest, costs of suit, attorneys' fees, and
all such other relief as the Court deems proper.

          420.   Such other relief as the Court deems proper.
          VII.     TIMELINESS AND TOLLING OF STATUTES OF LIMITATIONS

          421.   Through the exercise of reasonable diligence, Plaintiff did not and could not have
discovered that Instagram caused her injuries and/or sequelae thereto because, at the time of these
injuries and/or sequelae thereto, the cause was unknown to Plaintiff.
          422.   Plaintiff did not suspect and had no reason to suspect Instagram caused her injuries
and/or sequelae thereto until less than the applicable limitations period prior to the filing of this
action.
          423.   In addition, DEFENDANTS’ fraudulent concealment has tolled the running of any
statute of limitations. Through their affirmative misrepresentations and omissions,
DEFENDANTS actively concealed from Plaintiff the risks associated with the defects of
Instagram and that this product caused her injuries and/or sequelae thereto. Through their ongoing

affirmative misrepresentations and omissions, DEFENDANTS committed continual tortious, and
fraudulent acts.
          424.   As a result of DEFENDANTS’ fraudulent concealment, Plaintiff was unaware and
could not have reasonably known or learned through reasonable diligence that she had been
exposed to the defects and risks alleged herein and that those defects and risks were the direct and
proximate result of DEFENDANTS’ acts and omissions.
                              VIII. DEMAND FOR A JURY TRIAL

          425.   Plaintiff hereby demands a trial by jury.
                                  IX.     PRAYER FOR RELIEF

          426.   Plaintiff prays for judgment against DEFENDANTS to the full extent of the law,
including but not limited to:


                                                       90
     Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 93 of 94




             1.       Entering judgment for Plaintiff and against DEFENDANTS;

             2.       Entering an Order that Defendants are jointly and severally liable;

             3.       Damages to compensate Plaintiff for injuries sustained as a result of the use

      of the platform, including, but not limited to, physical pain and suffering, mental anguish,

      loss of enjoyment of life, emotional distress, expenses for hospitalizations and medical

      treatments, other economic harm that includes, but is not limited to, lost earnings and loss

      of earning capacity;

             4.       Awarding actual and compensatory damages;

             5.       Awarding statutory damages in the maximum amount permitted by law;

             6.       Awarding exemplary, treble, and/or punitive damages in an amount in

      excess of the jurisdictional limits;

             7.       Awarding reasonable attorneys’ fees;

             8.       Awarding experts’ fees;

             9.       Awarding costs of litigation;

             10.      Awarding pre-judgment and post-judgment interest at the lawful rate;

             11.      A trial by jury on all issues of the case;

             12.      Awarding medical monitoring costs or programs; and

             13.      Any other relief as this court may deem equitable and just, or that may be

      available.

DATE: September 14, 2022
                                                      Respectfully Submitted,
                                                           Matthew Hilt
                                                      By: /s/ Matthew Hilt
                                                      Matthew Hilt, 355405
                                                      Morgan & Morgan


                                                      91
Case 4:22-cv-00215-RSB-CLR Document 1 Filed 09/14/22 Page 94 of 94




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                                   92
